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Attorne s for Plaintit`t`
SURF ARE

SURFWARE, INC., a California
Corporatlon,

Plaintiff,
vs.

CELE_RITIVE TECHNOLOGIES, INC.,

an Arlzona CorpQrat_lo_n TERRY

SORENSEN, an_lndlv_ldual, GLENN

COLEMAN an 1nd1Y1dL_1a1, EVAN

§HERBROOKE, an mdlvldual and D<)ES
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Defendants.

 

, INC., a California Corporation
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFGRNIA

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CASE NO.:

DEMAND FOR JURY TRIAL
COMPLAINT FOR DAMAGES AND
INJUNCTIVE RELIEF FOR:

1. Cpmppter Fraud and Abuse-
Vlolatlon of 18 U.S.C. §1030;
Cgl(;l uter Fraud - Cal. Penal Code

,
isaBprogriation of Trade Secrets -
Cal. lv. ode §3426 et se .;
Interference Wi h
Relations;
Interference with Prospective
Economic Advanta e;
Fraud and Deceit - lv. Code §1572;
Interference With Contracts;
Breach of Written Contract'
Breach of Covenant of Good Faith
and Fair Dealing;

D\lfy;

lO.Breach of Fiduclary
11.Breach of the Duty of L(()Jyalty'
Pro{`essions¢

12.Violati0n of Business an
dee §l7500_-Unfair Competition;

13.V101at10n of Buslness and Profession@
Code _§17200-Unfair Business
Pl_~actlces;

14.C1vil Conspiracy

Contrac ual

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Case Name: Surfware, Inc. vs,
Celeritive Technologies, Inc., et al.

Case No:

 

COMPLAINT FOR DAMAGES <

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Plaintiff SURFWARE, INC. (hereinafter “SURFWARE”), a California

~ corporation complains of Defendants TERRY SORENSEN (“SORENSEN”), an

individual; GLENN COLEMAN (“COLEMAN”); an individual, EVAN
SHERBROOKE (“SHERBROOKE”); an individual (collectively the “INDIVIDUAL
DEFENDANTS”); CELERITIVE TECHNOLOGIES, INC., (“CELERITIVE”) an
Arizona Corporation; and DOES 1 -2/5 and each of them (collectively referred to herein
at “DEFENDANTS”), and alleges as follows:

INTRODUCTION

l. This action Seeks to redress SURFWARE for a multiplicity of Wrongs
perpetrated by the INDIVIDUAL DEFENDANTS, three former SURFWARE officers,
Who abused their positions of trust to obtain SURFWARE’s highly confidential
proprietary trade secret information, including SURFWARE’s industry-leading milling
technology, confidential product developments, and customer lists. In and after April
2006, the INDIVIDUAL DEFENDANTS embarked on a scheme to secretly and
systematically misappropriate SURFWARE’s confidential information and to usurp the
Company’s business opportunities in order to gain immediate success with a competing
business Without investing the effort and expense that Would be required through lawful
competition.

2. Each of the INDIVIDUAL DEFENDANTS had access to SURFWARE’S
database of customer information which included contact names, addresses, emails,
preferences, pricing and contract renewal dates for vendors, distributors and end users
of SURFWARE’S products and services. Moreover, because INDIVIDUAL
DEFENDANTS were exposed to the development of TrueMill®, SURFWARE’s
machining software and soon to be patented CAD/CAM technology they each had
access to the proprietary source codes for the innovative technology that powers
TrueMill® machining software This technology gives SURFWARE a substantial

competitive advantage over other CAM software developers

 

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3. By all accounts, the INDIVIDUAL DEFENDANTS’ unfair competition
has been successful. Armed with SURFWARE’s proprietary source codes and
customer information, the INDIVIDUAL DEFENDANTS left SURFWARE and days
later formed the competing corporation CELERITIVE. Approximately six months later,
DEFENDANTS’ machining software VoluMill was on the market DEFENDANTS
Were able to develop VoluMill so quickly because it Was derived from and used
SURFWARE’s proprietary machining software TrueMill® Specifically, SURFWARE
is informed and believes that VoluMill utilizes SURFWARE’s proprietary source codes.
The INDIVIDUAL DEFENDANTS used their entire development effort for
SURFWARE’s machining software TrueMill® to quickly create CELERITIVE’s
machining software, VoluMill. But the INDIVIDUAL DEFENDANTS did not stop
there. They have been marketing CELERITIVE’s machining software VoluMill using
SURFWARE’s confidential customer lists. CELERITIVE has and continues to
compete With SURFWARE unfairly and unlawfully through the use of SURFWARE’s
misappropriated trade secrets. The DEFENDANTS’ unlawful conduct has given them
an unfair competitive advantage.

JURISDICTION AND VENUE

4. This Court has jurisdiction over this action based on the Computer Fraud
and Abuse Act, 18 U.S.C. §1030 et seq. and 28 U.S.C. § 1331. Supplemental
jurisdiction exists for the state law claims under 28 U.S.C. § l337(a) because they are
closely related to claims in the action as to Which the court has original jurisdiction.

5. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the
acts and omissions complained of occurred in the County of Los Angeles and within
this District.

THE PARTIES
6. SURFWARE Was and is a corporation organized and existing under the

laws of the State of California, primarily engaged in the development, production and

 

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distribution of machining software and related goods and services, including the
development of CAD/CAM technologies During the INDIVIDUAL DEFENDANTS
employment, SURFWARE maintained its principal place of business in the County of
Los Angeles. SURFWARE subsequently moved its offices to the County of Ventura.

7. Upon information and belief, SURFWARE alleges that Defendant
SORENSEN is an individual Who is, and at all relevant times has been, a resident of the
County of Ventura. _

8. Upon information and belief, SURFWARE alleges that Defendant
COLEMAN is an individual Who is and at all relevant times has been a resident of the
State of Arizona.

9. Upon information and belief, SURFWARE alleges that Defendant
SHERBROOKE is an individual who is and at all relevant times has been a resident of
the County of Ventura.

10. Upon information and belief, SURFWARE alleges that Defendant
CELERITIVE is a corporation established under the laws of the state of Arizona with its
principal place of business and registered address located at 28248 N. Tatum Blvd., B-l,
Suite 148, Cave Creek, Arizona 85331.

ll. The true names and capacities of Defendants Does l through 25, inclusive,
Whether individual, corporate, associate or otherwise, are unknown to SURFWARE at
this time. SURFWARE thus sues said Defendants, and each of them, by such fictitious
names. SURFWARE Will seek leave to amend this Complaint to insert said
Defendants’ true names when the same have been ascertained. SURFWARE is
informed and believes and thereon alleges that each Doe Defendant is responsible in
some manner for the damages alleged herein.

12. SURFWARE is informed and believes and thereon alleges that each
Defendant Was the agent of each of the remaining Defendants, and in doing the acts

herein alleged, Was acting within the scope of such agency. Because of the agency

 

 

 

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and/or employment relationship between Defendants, and each of them, each Defendant
had actual or constructive knowledge of the acts of each of the other Defendants.
FACTS COMMON TO ALL CAUSES OF ACTION
Surfware, Inc.

13. SURFWARE is a family business built on 58 years and three generations
of expertise in the machining industry. What began as a small mold shop for machine
tooling medical products has, in the past eight years, become one of the fastest growing
CAD/CAM software companies.

14. In 1950, Victor Diehl opened a mold shop in Southern California. His son
Alan continued the tradition in the 1960s by investing in numerical control machines to
expedite tooling of components for aircraft manufacturing In the 1980s Alan’s sons
Bryan and Larry joined their father’s machining firm and'shortly thereafter, in 1988,
they formed SURFWARE.

15. SURFWARE is recognized for its development, production and
distribution of innovative machining software and related goods and services.
SURFWARE’s success is dependent on its development of proprietary technology and
innovative products and services as well as its ability to develop and maintain
relationships with individual vendors, distributors and end users.

16. Beginning on or about April 24, 2006, until his termination on April 12,
2007, SORENSEN was the CEO and President of SURFWARE. As CEO and
President, SORENSEN owed a fiduciary duty and duty of loyalty to SURFWARE. He
was entrusted with overseeing all aspects of SURFWARE’s business which gave him
unrestricted access to SURFWARE’s proprietary technology, proprietary research and
development and confidential customer information.

17. COLEMAN began his employment at SURFWARE on or about
August 28, 2000 as Director of Project Planning and was elevated to Vice President of
Product Design on or about December 12, 2003. He held this position until April 12,

 

 

 

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2007 when he suddenly resigned to follow SORENSEN and SHERBROOKE to
CELERITIVE to compete unlawfully and unfairly with SURFWARE.

18. SHERBROOKE began his employment at SURFWARE on or about
Novernber 8, 2004 as a System Architect and was elevated to Vice President of Product
Development on September 7, 2005. He held this position until April 12, 2007, when
he suddenly resigned to follow SORENSEN and COLEMAN to CELERITIVE to
compete unlawfully and unfairly with SURFWARE. Upon information and belief,
SHERBROOKE unlawfully accessed SURFWARE’S computer(s) and server without
authorization and/or exceeding authorization and copied the system architecture for
'l`rueMill®. This includes data structures and algorithms used to implement the solution
as well as methodology for process communication for the entire complex set of
processes which make up an entire CAM system. On information and belief,
DEFENDANTS used this proprietary system architecture to create VoluMill.

Surfware’s Confidential And Proprietary Information and Trade Secrets

19. Since it was established in 1988, SURFWARE has developed proprietary
technologies used in its CAD/CAM products Most recently, SURFWARE developed
and sought to patent various features of TrueMill® a revolutionary machining software
that changes the way metal is milled. What distinguishes TrueMill® machining software
is the pattern and angle of cutting which allows the cutting tool to maintain a constant
and predetermined interface with the material, even when cutting sharp corners This
innovative method drastically cuts down on cutting time and significantly increases the
life span of the cutting tool, providing critical advantages for machine shops

20. SURFWARE expends much effort and expense to maintain the
confidentiality of its proprietary technology and product development, including the
source codes that power the TrueMill® machining software,

2l. SURFWARE also expends significant effort and expense to maintain

existing relationships with vendors, distributors and end users, and to develop new

 

 

 

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relationships To keep its competitive advantage, SURFWARE invests substantial time,
effort and expense in collecting, organizing, analyzing, using and maintaining
confidential and proprietary customer information. Such confidential information is
maintained on SURFWARE’s databases which are accessible only to certain
SURFWARE employees The INDIVIDUAL DEFENDANTS had access to these
databases during their employment with SURFWARE. COLEMAN in particular was
the primary person at SURFWARE responsible for communication and interaction with
SURFWARE’s resellers and customers

22. SURFWARE’s databases contain a compilation of confidential customer
information on actual and potential vendors, distributors and end users which may
include Some or all of the following: (i) the names, addresses telephone numbers, email
addresses and fax numbers of each vendor, distributor and end user; (ii) name, titles and
telephone numbers of individual contact persons; (iii) detailed records of
communications with each vendor, distributor and end user; (iv) the history of all
purchases by each vendor, distributor or end customer; (v) customers’ preferences in
regard to products and services; (vi) renewal dates of contracts; (vii) accounts receivable
balances and aging; and, (viii) other information relevant to maintaining and expanding
SURFWARE’s business relationship with each Vendor, distributor and/or end user.

23. The confidential customer information contained on SURFWARE’s
databases and in company documents are extremely valuable assets The success of
SURFWARE’s business and its resulting revenue stream depend on SURFWARE’s
ability to successfully develop and market innovative products and services to an
existing and expanding customer base which in turn depends on SURFWARE’s ability
to keep such confidential information out of the hands of competitors

24. SURFWARE’s proprietary technology, confidential product developments
and customer information is not generally known in the public or the machining

industry and is not readily ascertainable by others SURFWARE’s proprietary

 

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technology and customer information has been developed and compiled over a period of
many years from numerous public and private sources and in-house research and
development SURFWARE has incurred great cost and expense to develop and to
maintain the confidentiality of its proprietary information and customer information.
Surfware’s Efforts To Protect Its Proprietarv And Confidential Information
and Trade Secrets From Disclosure
'25. SURFWARE takes specific steps to protect its proprietary and confidential
information. As a condition of employment, SURFWARE requires each employee to
enter into a New Employee Confidential Information and lnventions Agreement
(“Inventions Agreement”) which prohibits disclosure of SURFWARE’s proprietary and
confidential information.
26. SORENSEN executed an Inventions Agreement on April 18, 2006 (Exhibit

“A” attached hereto). COLEMAN executed an Inventions Agreement on August 15,
2000 (Exhibit “B” attached hereto). SHERBROOKE executed an lnventions
Agreement on November 8, 2004 (Exhibit “C” attached hereto). The Inventions
Agreement that all three INDIVIDUAL DEFENDANTS entered into as a condition of
their employment, contains the following provisions among others:

I acknowledge that Surfware possesses and will continue to

develop and acquire valuable Confidential Information...,

including information that I may develop or discover as a result

of my employment with Surfware, The value of that

Confidential Information depends on it remaining confidential.

Surfware depends on me to maintain that confidentiality, and 1

accept that position of trust. (Inventions Agreement, Sections

1(a)).

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1 will not disclose or use at any time, either during or after my
employment with Surfware, any Confidential Information
except for the exclusive benefit of Surfware as required by my
duties for Surfware, or as Surfware expressly may consent to in
writing. 1 will cooperate with Surfware and use my best efforts
to prevent the unauthorized disclosure, use, or reproduction or

any or all Confidential Information. (Inventions Agreement,
Section l(c)).
* * >l< >l=
l agree to communicate to Surfware as promptly and fully as
practicable all Inventions (as defined below) conceived or
reduced to practice by me (alone or jointly by others) at any
time during my employment with Surfware. (Inventions
Agreement, Section 2(a)).
* >1< * *
. . .during my employment with Software, 1 will not, without
Surf`ware’s express written consent, engage in any employment
or business other than for Surfware, or invest in or assist (in any
manner) any business competitive with the business of the
future business plans of Surfware, other than small passive
interests in publically traded companies (lnventions
Agreement, Section 3(a)).
27. SORENSEN, as President and CEO,v executed an Employment Agreement
whereby he agreed to the following:

You acknowledge that upon commencement of your
employment, you will owe a duty of loyalty to Surfware and

that all of your services shall be performed conscientiously and

 

 

 

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to the fullest extent of your abilities You will not engage or
participate in any business that is competitive with the business
of Surfware. You will be expected to comply with and be
bound by Surfware’s operating policies procedures and
practices (Sorensen Employment Agreement, Section
2)(Exhibit “D” hereto).
* >l< >l< *

During the term of this Agreement and for one year thereafter,
you will not, on your own behalf or on behalf of any third party,
solicit or induce any employee of SURFWARE to terminate
employment with SURFWARE. (Sorensen Employment
Agreement, Section 11)(Exhibit “D” hereto).

Defendants’ Unfair Competition

28. During each of the INDIVIDUAL DEFENDANTS’ employment at
SURFWARE, they had unrestricted access were entrusted with, and exposed to
SURFWARE’s trade secrets and other confidential and proprietary information. As a
result of their employment at SURFWARE, the INDIVIDUAL DEFEDANTS became
intimately aware of the details of SURFWARE’s proprietary technology, confidential
product development and customer information, including, names addresses contact
persons preferences pricing information and contract expiration/renewal dates for
SURFWARE’$ vendors distributors and end users

29. ln April 2006, after years of working for SURFWARE, COLEMAN and
SHERBROOKE threatened to resign unless SURFWARE gave them and several other
individuals a controlling interest in SURFWARE. The change in controlling interest
was rejected. In November 2006, COLEMAN and SHERBROOKE again threatened to

resign unless SURFWARE entered into an agreement to start a new company, in which

 

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COLEMAN and SHERBROOKE would have a controlling interest that would exist as a
joint venture between SURFWARE and COLEMAN/SHERBROOKE. At
SORENSEN’s instigation SURFWARE agreed to explore the possibility of the joint
venture between SURFWARE and COLEMAN/SHERBROOKE.

30. As part of the agreement to pursue the joint venture, COLEMAN and
SHERBROOKE agreed to prepare a business plan for the joint venture to be presented
to SURFWARE. In addition, COLEMAN and SHERBROOKE also entered into
purported “Mutual Non-Disclosure Agreements” (“NDA”) with SURFWARE whereby
they agreed:

The Receiving Party [COLEMAN and SHERBROOKE]
understands and agrees that it is not allowed to sell, license,
develop or otherwise exploit any parts products services
documents or information which embody in whole or in part
any [SURFWARE] Confidential Information. (NDA, Section
5) (Exhibit “E” and “F” hereto).

31. However, despite promises to do so, COLEMAN and SI-[ERBROOKE
never submitted a business plan for the joint venture for SURFWARE’s consideration
COLEMAN and SHERBROOKE never intended to follow through with the joint
venture plan, and instead worked in secret on their own business plan from April 2006
through and beyond November 2006 with the intent of leaving SURFWARE to form a
competing company using SURFWARE’S proprietary technology, confidential product
development, accounting records (sales and expenses) and customer information,
including, names addresses contact persons preferences pricing information and
contract expiration/renewal dates for SURFWARE’s vendors distributors and end
users

32. On information and belief, any purported work COLEMAN and
SHERBROOKE did in furtherance of the “joint venture” was in fact for their own

 

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benefit and in furtherance of their scheme to obtain SURFWARE’s trade secrets leave
SURFWARE and unfairly and unlawfully compete with SURFWARE.

33. On information and belief, SORENSEN, while acting as President and
CEO of SURFWARE, breached his fiduciary duty and duty of loyalty by conspiring
with COLEMAN and SHERBROOKE to pirate SURFWARE’s trade secrets and aid
and abet COLEMAN and SHERBROOKE in starting an entirely new venture to
unfairly and unlawfully compete with SURFWARE.

34. On April 12, 2007, SORENSEN was terminated as CEO and President of
SURFWARE. On April 11, 2007, the day before his termination, SORENSEN emailed
a list of over 135 email addresses of SURFWARE customers from his SURFWARE
email address to his horne email address SURFWARE invested substantial time, effort
and expense in collecting, organizing and developing these client lists which are not
available to the public. The information was confidential and proprietary and owned by
SURFWARE. With a few clicks of his computer, SORENSEN misappropriated this
information.

35. The very same day SORENSEN was terminated, COLEMAN and
SHERBROOKE suddenly resigned from SURFWARE. SURFWARE is informed and
believes and thereby alleges that SORENSEN breached his Employment agreement
with SURFWARE and solicited COLEMAN and SHERBROOKE to resign and
ultimately form CELERITIVE. After SORENSEN’s termination and COLEMAN and
SHERBROOKE’s resignation several of SURFWARE’s resellers informed
SURFWARE that COLEMAN AND SHERBROOKE repeatedly called them in
attempts to procure business for CELERITIVE.,

36. However, while still employed With SURFWARE, in or around June 2006,
SHERBROOKE wrote about how he planned to carry out an illegal scheme to unfairly
compete against SURFWARE. SHERBROOKE wrote,

 

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“[W]e [SHERBR()OKE and COLEMAN] are planning to leave to
form our own company together._ We hav_e Spent the last two months
working out the details and puttmg a buslness plan together, and we
believe the most lucrative optlon f_or us 1s' actuall _to develop a
toolpath engine that would compete directly wlth True 111 . . .”

37. On April 27, 2007, less than 15 days after their separation from
employment at SURFWARE, the INDIVIDUAL DEFENDANTS were registered as the
directors of a new Arizona corporation called Celeritive Technologies, Inc. Less than a
year after forming CELERITIVE, the DEFENDANTS’ machining software product
VoluMill was on the market. On information and belief, VoluMill machining software
uses many of the same revolutionary toolpath machining creation techniques used in
SURFWARE’s TrueMill® machining software,

38. Cn information and belief, the DEFENDANTS used SURFWARE’s trade
secret and proprietary inforrnation, including the source codes to develop VoluMill,
CELERITIVE’s main product offering. On information and belief, the DEFENDANTS
used and are currently using SURFWARE’s propriety customer information to market
VoluMill.

39. On September 5, 2007 and September 14, 2007, SURFWARE sent cease
and desist letters to the INDIVIDUAL DEFENDANTS informing them that they must
cease and desist from using SURFWARE’s proprietary and trade secret information.
The INDIVIDUAL DEFENDANTS ignored SURFWARE’s request and continued to
compete unfairly with SURFWARE.

FIRST CAUSE OF ACTION

(Computer Fraud and Abuse-Violation of 18 U.S.C. 81030;
Against The Individual Defendants)

40. SURFWARE hereby incorporates by reference Paragraphs l through 39 as
though fully set forth herein.
41. SURFWARE maintains a computer system and server used to

communicate with SURFWARE’s employees customers and vendors The computers

 

Case Name: Surfware, Inc. vs 13 COMPhAINT FOR DAMAGES
Celeritive Technologies, lnc., et al.
Case No:

 

 

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and computer server are “protected” computers and/or computer devices within the
meaning of 18 U.S.C. §1030(e)(2).

42. The express terms of usage of SURFWARE’s protected computers
prohibited access and/or use for any reason not directly related to the business of
SURFWARE. The INDIVIDUAL DEFENDANTS knew these terms of usage.

43. The INDIVIDUAL DEFENDANTS worked for SURFWARE in positions
in which they had access to SURFWARE’S trade secrets and proprietary and
confidential information which was stored on SURFWARE’s protected computers
These trade secrets and other confidential and proprietary information included, but
were not limited to, SURFWARE’s customer lists and software programs for TrueMill®.

44. The INDIVIDUAL DEFENDANTS were under a duty not to use or
disclose any of SURFWARE’s trade secrets and confidential and proprietary
information for any purpose other than in connection with their employment at
SURFWARE, or to disclose such information to anyone outside SURFWARE without
SURFWARE’S express authorization.

45. Each of the INDIVIDUAL DEFENDANTS, acting for his own personal
gain and self-interest and without authorization and/or exceeding authorization from
SURFWARE, accessed SURFWARE’s protected computer(s) through which he
accessed the computer server in violation of 18 U.S.C. §1030.

46. Each of the INDIVIDUAL DEFENDANTS, acting for his own personal
gain and self-interest and without authorization and/or exceeding authorization from
SURFWARE, accessed SURFWARE’s protected computer(s) and servers and pirated
valuable SURFWARE’$ customer lists and proprietary software programs for
TrueMill®. The value of this information was something other than the use of
SURFWARE’s computers itself.

47. Each of the INDIVIDUAL DEFENDANTS, acting for his own personal

gain and self-interest and without authorization and/or exceeding authorization from

 

Case Name: Surfware, Inc. vs 14 COMPLAINT FOR DAMAGES
Celeritive Technologies, lnc., et al.
Case No:

 

 

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SURFWARE, accessed protected SURFWARE computer(s) and the server and used a
portable “hard drive” device to copy all information, the value of which was something
other than the use of SURFWARE’s computers itself.

48. The INDIVIDUAL DEFENDANTS, prior to their termination or sudden
resignations from employment with SURFWARE, did the acts set forth above in the
preceding paragraphs for the purpose of wrongfully, unfairly and illegally competing
with SURFWARE. This conduct was a serious breach of fiduciary duty and breach of
loyalty to SURFWARE.

49. Each of the INDIVIDUAL DEFENDANTS, knowingly, with the intent to
defraud, transfer and/or obtain control of said information, accessed SURFWARE’S
protected computer(s) without authorization and/or exceeding authorization, and
obtained valuable TrueMill® source codes and other trade secret and proprietary,
confidential information. The value of this information was something other than the
use of SURFWARE’s computers itself. Although the amount of SURFWARE’$
economic and non-economic damages is presently unascertainable, such damages are in
excess of $5,000. The exact of amount of such damages will be proven at trial.

50. Each of the INDIVIDUAL DEFENDANTS did in fact defraud, transfer
and/or obtain control of SURFWARE’s confidential and proprietary trade secret
information. As a result of the INDIVIDUAL DEFENDANTS improperly accessing
SURFWARE’s computers without appropriate authorization, the INDIVIDUAL
DEFENDANTS have unfairly obtained significant profits to which they are not
entitled.

51. SURFWARE is informed and believes that trade secret and confidential
information improperly obtained has been involved in interstate communication, as the
INDIVIDUAL DEFENDANTS are now principals in a competing Arizona company
called CELERITIVE after having been discharged and/or suddenly resigned from their
employment at SURFWARE.

 

Case Name: Surfware, Inc. vs 15 COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

 

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52. As a direct and proximate result of the INDIVIDUAL DEFENDANTS’
violation of 18 USC 1030, SURFWARE has suffered substantial damages
SURFWARE is entitled to lost profits suffered as a result of the INDIVIDUAL
DEFENDANTS’ conduct in an amount to be determined at trial and the costs and fees
of prosecuting this action. DEFENDANTS should forfeit income and profits derived
from their wrongful, unfair and illegal conduct.

53. Unless restrained, the INDIVIDUAL DEFENDANTS will continue to
engage in the acts conduct and omissions set forth above which have resulted and will
continue to result in irreparable injury to SURFWARE. The exact extent, nature and
amount of SURFWARE'$ injuries and damages are extremely difficult to ascertain. The
continuing acts conduct and omissions by the INDIVIDUAL DEFENDANTS may also
cause a multiplicity of suits by SURFWARE. Monetary damages alone do not offer an
adequate remedy. SURFWARE therefore requests that during the pendency of this
action, this Court issue a preliminary injunction, and that after trial, this Court issue a
permanent injunction, restraining and enjoining the INDIVIDUAL DEFENDANTS and
their agents employees attorneys and representatives and anyone acting at their
direction or on their behalf from using SURFWARE’s confidential and proprietary

information.

SECOND CAUSE OF ACTION

(liolation of California Penal Code§ 502 - Computer Fraud -
Against The Individual Defendants)

54. SURFWARE hereby incorporates by reference Paragraphs 1 through 53 as
though fully set forth herein.

55. SURFWARE maintains computers and servers used to communicate with
SURFWARE’s employees customers and vendors The computers and servers are a

“computer system” within the meaning of Cal. Penal Code § 502 (b)(5).

 

Case Name: Surfware, Inc. vs 16 COMPLAlNT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

 

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56. The express terms of usage of SURFWARE’s protected computers
prohibited access and/or use for any reason not directly related to the business of
SURFWARE. The INDIVIDUAL DEFENDANTS knew these terms of usage.

57. The INDIVIDUAL DEFENDANTS worked for SURFWARE in positions
in which they had access to SURFWARE’S trade secrets and proprietary and
confidential information which was Stored on SURFWARE’s protected computers
These trade secrets and other confidential and proprietary information included, but
were not limited to, SURFWARE’s customer lists and software programs for TrueMill®.

58. The INDIVIDUAL DEFENDANTS were under a duty not to use or
disclose any of SURFWARE’s trade secrets and confidential and proprietary
information for any purpose other than in connection with their employment at
SURFWARE, or to disclose such information to anyone outside SURFWARE without
SURFWARE’S express authorization.

59. Each of the INDIVIDUAL DEFENDANTS, acting for their own personal
gain and self-interest and without authorization and/or exceeding authorization from
SURFWARE, accessed SURFWARE’s protected computer(s) through which he
accessed the computer server in violation of Cal. Penal Code § 502.

60. Each of the INDIVIDUAL DEFENDANTS, acting for their own personal
gain and self-interest and without authorization and/or exceeding authorization from
SURFWARE, accessed SURFWARE’s protected computer(s) and servers and pirated
valuable SURFWARE’s customer lists and proprietary software programs for
TrueMill®. The value of this information was something other than the use of
SURFWARE’s computers itself.

61. Each of the INDIVIDUAL DEFENDANTS, acting for their own personal
gain and self-interest and without authorization and/or exceeding authorization from

SURFWARE, accessed protected SUR_FWARE computer(s) and the server and used a

 

Case Name: Surfware, Inc. vs 17 COMPLAINT FOR DAMAGES
Celeritive Technologies Inc., et al.
Case No:

 

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portable “hard drive” device to copy all inforrnation, the value of which was something
other than the use'of SURFWARE’s computers itself.

62. The INDIVIDUAL DEFENDANTS, prior to their termination or sudden
resignations from employment with SURFWARE, did the acts set forth above in the
preceding paragraphs for the purpose of wrongfully, unfairly and illegally competing
with SURFWARE. This conduct was a serious breach of fiduciary duty and breach of
loyalty to SURFWARE.

63. Each of the INDIVIDUAL DEFENDANTS, knowingly, with the intent to
defraud, transfer and/or obtain control of said inforrnation, accessed SURFWARE’S
protected computer(s) without authorization and/or exceeding authorization, and
obtained valuable TrueMill® source codes and other trade secret and proprietary,
confidential information. The value of this information was something other than the
use of SURFWARE’s computers itself. Although the amount of SURFWARE’s
economic and non-economic damages is presently unascertainable, such damages are in
excess of $5,000. The exact of amount of Such damages will be proven at trial.

64. Each of the INDIVIDUAL DEFENDANTS did in fact defraud, transfer
and/or obtain control of SURFWARE’s confidential and proprietary trade secret
information. As a result of the lNDIVIDUAL DEFENDANTS improperly accessing
SURFWARE’s computers without appropriate authorization, the INDIVIDUAL
DEFENDANTS have unfairly obtained significant profits to which they are not
entitled.

65. SURFWARE is informed and believes that trade secret and confidential
information improperly obtained has been involved in interstate communication, as the
INDIVIDUAL DEFENDANTS are now principals in a competing Arizona company
called CELERITIVE after having been discharged and/or suddenly resigned from their
employment at SURFWARE.

 

Case Name: surfware, Inc. vs. ` 18 coMPLAINT FoR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

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66. As a direct and proximate result of DEFENDANTS’ violation of Cal. Penal
Code § 502, SURFWARE has suffered substantial damages SURFWARE is entitled to
lost profits suffered as a result of the INDIVIDUAL DEFENDANTS’ conduct in an
amount to be determined at trial and the costs and fees of prosecuting this action.
DEFENDANTS should forfeit income and profits derived from their wrongful, unfair
and illegal conduct.

67. The INDIVIDUAL DEFENDANTS’ acts described above were willful,
wanton, malicious and oppressive in that DEFENDANTS misappropriated
SURFWARE’s trade secrets with the deliberate intent to injure SURFWARE‘s business
and improve their own, thereby warranting an award of exemplary damages as
provided by Civil Code § 3426.3(0) and an award of reasonable attomeys’ fees as
provided by Civil Code § 3426.4.

68. Unless restrained, the INDIVIDUAL DEFENDANTS will continue to
engage in the acts conduct and omissions set forth above which have resulted and will
continue to result in irreparable injury to SURFWARE. The exact extent, nature and
amount of SURFWARE‘s injuries and damages are extremely difficult to ascertain. The
continuing acts conduct and omissions by the INDIVIDUAL DEFENDANTS may also
cause a multiplicity of suits by SURFWARE. Monetary damages alone do not offer an
adequate remedy. SURFWARE therefore requests that during the pendency of this
action, this Court issue a preliminary injunction, and that after trial, this Court issue a
permanent injunction, restraining and enjoining the INDIVIDUAL DEFENDANTS and
their agents employees attorneys and representatives and anyone acting at their
direction or on their behalf from using SURFWARE’s confidential and proprietary

information.

 

Case Name: Surfware, Inc. vs 19 COMPLAINT FOR DAMAGES
Celeritive Technologies, lnc., et al.
Case No:

 

 

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THIRD CAUSE OF ACTION

(Violation of Civil Code §§3226-3426.11_
Misappropriation of Trade Secrets; Against All Defendants)

69. SURFWARE hereby incorporates by reference Paragraphs 1 through 68 as
though fully set forth herein.

70. SURFWARE is informed and believes that DEFENDANTS have
misappropriated SURFWARE’s trade secrets and confidential and proprietary
information for the benefit of themselves and to gain an unfair competitive advantage

71. SURFWARE has developed and used trade secrets consisting of
proprietary information including, but not limited to, the source codes that power
TrueMill® machining software and SURFWARE’s customer lists

72. Prior to DEFENDANTS’ acts complained of herein, SURFWARE‘s trade
secret and confidential inforrnation, including its proprietary technology, confidential
product development and customer information, including, names addresses contact
persons preferences pricing information and contract expiration/renewal dates for
SURFWARE’S Vendors distributors and end users have an independent economic value
from not being generally known within the industry, not readily ascertainable by proper
means and representing many years of development effort and expense by
SURFWARE.

73. SURFWARE has taken reasonable efforts to maintain the confidentiality of
said trade secrets and protect them from disclosure to its competitors or potential
competitors SURFWARE has required that its employees sign agreements expressly
guaranteeing the protection of confidential, proprietary and trade secret information.
The INDIVIDUAL DEFENDANTS knew and understood that SURFWARE sought to
protect the confidentiality of its trade secret information.

74. On information and belief, before the INDIVIDUAL DEFENDANTS were
terminated or resigned from SURFWARE, they misappropriated SURFWARE’s trade

secrets by surreptitiously absconding with confidential information related to

 

Case Name: Surfware, Inc. vs 20 COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

 

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SURFWARE’s TrueMill® machining software, including, but not limited to the source
codes and any related proprietary software or system tools for the purpose of attaining
an unfair competitive advantage

75. DEFENDANTS knew that the information they misappropriated from
SURFWARE was SURFWARE’s confidential and constituted trade secrets
DEFENDANTS knew that they acquired the trade secrets by improper means from
SURFWARE in Violation of their confidentiality agreements and the obligations
implied by law, and that they accessed and used the trade secrets without
SURFWARE’s express or implied consent.

76. As a direct and proximate result of the misappropriation by
DEFENDANTS of SURFWARE’s trade secrets as described herein, SURFWARE has
suffered substantial damages and lost profits in particular with respect to large
aerospace companies These substantial damages represent significant monetary
damages already sustained as well as anticipated large future sales SURFWARE is
entitled to lost profits suffered as a result of this conduct in an amount to be determined
at trial and the costs and fees of prosecuting this action. DEFENDANTS should forfeit
income and profits derived as a result of such misappropriation of trade secrets

77. The exact amount of SURFWARE’s damages is presently unascertainable
and continuing to accrue. SURFWARE will prove the exact amount and nature of these
damages at the time of trial.

78. DEFENDANTS’ acts described above were willful, wanton, malicious and
oppressive in that DEFENDANTS misappropriated SURFWARE’s trade secrets with
the deliberate intent to injure SURFWARE‘s business and improve their own, thereby
warranting an award of exemplary damages as provided by Civil Code § 3426.3(0) and

an award of reasonable attorneys’ fees as provided by Civil Code § 3426.4.

 

Case Name: Surfware, Inc. vs 21 COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

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FOURTH CAUSE OF ACTION

(Interference with Contractual Relations;
Against All Defendants)

79. SURFWARE hereby incorporates by reference Paragraphs 1 through 78 as
though fully set forth herein.

80. SURFWARE enjoys contractual relationships with its customers of which
DEFENDANTS are aware

81. SURFWARE is informed and believes and on that basis alleges that
DEFENDANTS through improper means and for the purpose of injuring SURFWARE,
have interfered with, and continue to attempt to interfere with, contractual relationships
between SURFWARE and its customers Such interference has in fact, resulted in a
disruption to such contractual relationships

82. On information and belief, DEFENDANTS have targeted SURFWARE for
the purpose of wrongfully, unlawfully and intentionally pirating its software and other
trade secrets so as to divert customers to DEFENDANTS. On information and belief,
SURFWARE alleges that such wrongful, unlawful and intentional conduct is done for
the purpose of expanding DEFENDANTS’ business at the expense of SURFWARE.

83. As a proximate result of DEFENDANTS’ conduct, SURFWARE has lost
and will continue to lose business which would have been generated from its existing
contractual relationships with its customers as well as additional, substantial damages
The exact amount of SURFWARE’S damages is presently unascertainable and
continuing to accrue SURFWARE will prove the exact amount and nature of these
damages at the time of trial.

84. SURFWARE is entitled to lost profits suffered as a result of
DEFENDANTS’ conduct in an amount to be determined at trial and the costs and fees
of prosecuting this action. DEFENDANTS should forfeit income and profits derived as

a result of this intentional interference

 

Case Name: Surfware, Inc. vs 22 COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

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85. DEFENDANTS performed the foregoing acts conduct and omissions
fraudulently, maliciously and oppressively, with the specific intent to deprive
SURFWARE of its lawful rights to its proprietary and confidential information and to
otherwise cause injury to SURFWARE. By reason of the INDIVIDUAL
DEFENDANTS’ conduct, SURFWARE is entitled to an award of punitive damages
according to proof at trial.

86. Unless restrained, DEFENDANTS will continue to engage in the acts
conduct and omissions set forth above which have resulted and will continue to result in
irreparable injury to SURFWARE. The exact extent, nature and amount of
SURFWARE’s injuries and damages are extremely difficult to ascertain. The
continuing acts conduct and omissions by DEFENDANTS may also cause a
multiplicity of suits by SURFWARE. Monetary damages alone do not offer an
adequate remedy. SURFWARE therefore requests that during the pendency of this
action, this Court issue a preliminary injunction, and that after trial, this Court issue a
permanent injunction, restraining and enjoining DEFENDANTS, and anyone acting at
their direction, with their assistance or on their behalf from using SURFWARE’s

confidential and proprietary information.

FIFTH CAUSE OF ACTION

(Interference with Prospective Economic Advantage;
Against All Defendants)

87. SURFWARE hereby incorporates by reference Paragraphs 1 through 86 as
though fully set forth herein.

88. SURFWARE enjoys beneficial economic relationships with its customers
of which DEFENDANTS are aware SURFWARE had developed business
relationships with their customers providing ongoing services to them with a reasonable
expectation of continuing to do so. By virtue of these relationships SURFWARE also
developed a reasonable expectation of future referrals of additional customers from

these customers

 

Case Name: Surfware, Inc. vs 23 COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

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89. SURFWARE is informed and believes that DEFENDANTS are
wrongfully, unlawfully and intentionally interfering with SURFWARE’s business
relationships with its customers and, by doing so, with its prospective economic
advantage

90. On information and belief, DEFENDANTS have targeted SURFWARE for
the purpose of wrongfully, unlawfully and intentionally obtaining and usurping its
software and other trade secrets to divert customers to DEFENDANTS. On information
and belief, SURFWARE alleges that such wrongful, unlawful and intentional conduct is
done for the purpose of expanding DEFENDANTS’ business at the expense of
SURFWARE.

91. On information and belief, DEFENDANTS have engaged in multiple
instances of wrongful conduct in furtherance of their efforts to interfere with
SURFWARE’s prospective economic advantage as alleged herein. Such wrongful
conduct includes but is not limited to: DEFENDANTS’ misappropriation of
SURFWARE’s trade secret and confidential software by DEFENDANTS and
application of that software to compete with SURFWARE.

92. SURFWARE had also developed profitable business relationships with
their employees earning revenues and profits as a result of their ability to assign those
employees to fill their customers’ needs and reasonably expecting to continue to do so.

93. DEFENDANTS improperly solicited these customers and employees of
SURFWARE to terminate their relationship with SURFWARE.

94. By improperly soliciting SURFWARE’$ customers and employees to
terminate their relationships with SURFWARE,. DEFENDANTS tortiously interfered
with the prospective economic advantage SURFWARE anticipated enjoying from those
customers and employees as well as potential customers and employees those

customers and employees may refer.

 

Case Name: Surfware, Inc. vs 24 n COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

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95. DEFENDANTS did so improperly in breach of their contractual obligation
to SURFWARE as well as their statutory obligations to refrain from misappropriating
SURFWARE’s trade secrets

96. DEFENDANTS’ conduct in improperly soliciting SURFWARE customers
and employees to terminate their relationships with SURFWARE, and thereby tortiously
interfering with the economic advantage SURFWARE reasonably expected to enjoy
from, and as a result of, those relationships was malicious fraudulent, and/or
oppressive, entitling SURFWARE to an award of exemplar damages against them.

97. SURFWARE is informed and believe that DEFENDANTS are wrongfully,

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unlawfully and intentionally interfering with SURFWARE’s business relationships with
11 its customers and employees and, by doing so, with their prospective economic
12 advantage

13 98. On information and belief, DEFENDANTS targeted SURFWARE for the
14 purpose of wrongfully, unlawfully and intentionally raiding their employees so as to
15 divert SURFWARE customers and reduce the number of competent, experienced and
16 knowledgeable people at SURFWARE so as to keep it from properly servicing existing
17 and future customers On information and belief, DEFENDANTS targeted
18 SURFWARE’S customers and potential customers for the purpose of wrongfully,
19 unlawfully and intentionally interfering with SURFWARE’s business relationships

20 99. SORENSEN breached his agreement while still employed by SURFWARE
21 by encouraging and soliciting SURFWARE employees to quit their employment and
22 join CELERITIVE.

23 100. The INDIVIDUAL DEFENDANTS breached their agreements while they
24 were still employed by SURFWARE by soliciting business from SURFWARE
25 customers even while they were still employed by SURFWARE.

26 101. On information and belief, DEFENDANTS have engaged in multiple
27 instances of wrongful conduct in furtherance of their efforts to interfere with

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Case Name: Surfware, Inc. vs 25 COMPLAINT FOR DAMAGES
Celeritive Technologies Inc., et al.
Case No:

 

 

 

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SURFWARE’S prospective advantage as alleged herein. Such wrongh.ll conduct
includes but is not limited to:
(a) INDIVIDUAL DEFENDANTS breach of their contractual
and fiduciary obligations to SURFWARE;
(b) DEFENDANTS’ misappropriation of SURFWARE’s confidential,
proprietary and trade secret information;

102. As a proximate result of the foregoing alleged conduct, SURFWARE has
lost and will continue to lose business which would have been generated from its
existing relationships with its customers and has lost and will continue to lose the actual
and prospective economic advantage that it enjoys through its relationships with its
customers and employees

103. SURFWARE is entitled to lost profits suffered as a result of the foregoing
alleged conduct in an amount to be determined at trial and the costs and fees of
prosecuting this action. The INDIVIDUAL DEFENDANTS and each of them, should
forfeit their salary and bonuses that were paid and/or which may become payable as a
result of their respective employment with CELERITIVE. The INDIVIDUAL
DEFENDANTS should forfeit income and profits derived as a result of these wrongful
acts

104. As a direct and proximate result of DEFENDANTS’ conduct,
SURFWARE has suffered substantial damages The exact amount of SURFWARE’s
damages is presently unascertainable and continuing to accrue SURFWARE will prove
the exact amount and nature of these damages at the time of trial.

105. DEFENDANTS performed the foregoing acts conduct and omissions
fraudulently, maliciously and oppressively, with the specific intent to deprive
SURFWARE of its lawful rights to its proprietary and confidential information and to
otherwise cause injury to SURFWARE. By reason of the DEFENDANTS’ conduct,
SURFWARE is entitled to an award of punitive damages according to proof at trial.

 

Case Name: Surfware, Inc. vs 26 COMPhAlNT FOR DAMAGES
Celeritive Technologies, Inc., et al. »
Case No:

 

 

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SIXTH CAUSE OF ACTION

(Fraud and Deceit - Civil Code §1572);
Against The Individual Defendants)

106. SURFWARE hereby incorporates by reference Paragraphs 1 through 106
as though fully set forth herein.

107. The INDIVIDUAL DEFENDANTS, acting for their own personal gain and
self-interest, knowingly and with the intent to suppress the fact that they were doing so,
accessed SURFWARE’s protected computer(s) without SURFWARE’s authorization
and/or exceeded authorization, and obtained valuable TrueMill® machining software
source codes and other trade secret and proprietary, confidential information. The
INDIVIDUAL DEFENDANTS willfully suppressed their disloyal conduct from
SURFWARE.

108. The lNDIVIDUAL DEFENDANTS, acting for their own personal gain and
self-interest and without SURFWARE’s authorization and/or exceeded authorization,
misappropriated SURFWARE’s trade secret information stored on SURFWARE’s
computer system and improperly used such information to unfairly compete with
SURFWARE. DEFENDANTS willfully suppressed their disloyal conduct from
SURFWARE.

109. The INDIVIDUAL DEFENDANTS, acting for their own personal gain and
self-interest, knowingly and with intent to suppress and defraud, transferred and/or
obtained control of valuable TrueMill® machining software source codes and other
trade secret and proprietary, confidential information stored on SURFWARE’s
computer(s) without authorization and/or exceeded the authorization for their access

110. The INDIVIDUAL DEFENDANTS did in fact suppress the information
and defraud SURFWARE in connection with their obtaining control of confidential and
proprietary trade secret information.

111. On information and belief, the INDIVIDUAL DEFENDANTS, prior to
their separation of employment from SURFWARE, did engage in the acts set forth

 

Case Name: Surfware, lnc. vs 27 COMPLAINT FOR DAMAGES
Celeritive Technologies, Inc., et al.
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hereinabove for the purpose of maliciously, wrongfully, unfairly and illegally
competing with SURFWARE.

112. As a result of the INDIVIDUAL DEFENDANTS improperly accessing
SURFWARE’s computers without appropriate authorization and/or exceeding
authorization, SURFWARE has suffered substantial damages The exact amount of
SURFWARE’s damages is presently unascertainable and continuing to accrue
SURFWARE will prove the exact amount and nature of these damages at the time of
trial.

113. As a direct and proximate result of the INDIVIDUAL DEFENDANTS’
violation of Civil Code §1572, SURFWARE has suffered substantial damages
SURFWARE is entitled to lost profits suffered as a result of the INDIVIDUAL
DEFENDANTS’ conduct in an amount to be determined at trial and the costs and
attomey’s fees incurred in prosecuting this action. DEFENDANTS should forfeit
income and profits derived from their wrongful, unfair and illegal conduct,

114. The INDIVIDUAL DEFENDANTS performed the foregoing acts conduct
and omissions fraudulently, maliciously and oppressively, with the specific intent to
deprive SURFWARE of its lawful rights to its proprietary and confidential information
and to otherwise cause injury to SURFWARE. By reason of the INDIVIDUAL
DEFENDANTS’ conduct, SURFWARE is entitled to an award of punitive damages
according to proof at trial.

115. Unless restrained, DEFENDANTS will continue to engage in the acts
conduct and omissions set forth above which have resulted and will continue to result in
irreparable injury to SURFWARE. The exact extent, nature and amount of
SURFWARE‘s injuries and damages are extremely difficult to ascertain. The
continuing acts conduct and omissions by DEFENDANTS may also cause a
multiplicity of suits by SURFWARE. Monetary damages alone do not offer an
adequate remedy. SURFWARE therefore requests that during the pendency of this

 

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action, this Court issue a preliminary injunction, and that after trial, this Court issue a
permanent injunction, restraining and enjoining DEFENDANTS and their agents
employees attorneys and representatives and anyone acting at their direction or on their

behalf from using SURFWARE’s confidential and proprietary information.

SEVENTH CAUSE OF ACTION

(Interference With Employment Contract);
Against Celeritive and Individual Defendant Sorensen)

116. SURFWARE hereby incorporates by reference Paragraphs 1 through 115
as though fully set forth herein.

117. SURFWARE is informed and believes that SORENSEN, both during and
after being employed by SURFWARE, solicited and induced COLEMAN and
SHERBROOKE to resign from SURFWARE and carry out their long standing plan to
form a company to unfairly compete with SURFWARE Both COLEMAN and
SHERBROOKE had been employed by SURFWARE for years prior to SORENSEN
joining SURFWARE. However, after SORENSEN was hired, he began inducing
COLEMAN and SHERBROOKE to form a company which directly and unfairly
competes with SURFWARE

118. Once formed, CELERITIVE also unlawfully solicited another former long-
term SURFWARE employee, Joe McChesney. SURFWARE is informed and believes
while Joe McChesney was still employed with SURFWARE, SHERBROOKE
manipulated him into gaining access to SURFWARE’s computer system without
authorization and/or in excess of authorization in to misappropriate SURFWARE’S
source codes for the benefit of DEFENDANTS while pretending to provide support and
assistance to SURFWARE software developers

119. SORENSEN committed and engaged in independent wrongful acts to
solicit and induce CGLEMAN and SHERBROOKE to form and/or join what would
become the competing company, CELERITIVE, including, but not limited,

misappropriating trade secrets and other confidential and proprietary inforrnation,

 

Case Name: Surfware, lnc. vs 29 COMPLAINT FOR DAMAGES
Celeritive Technologies Inc., et al.
Case No:

 

 

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improperly and unlawfully accessing SURFWARE’s computers and engaging in unfair
competition.

120. SORENSEN improperly used unfair and deceptive means to solicit, induce
and hire COLEMAN and SHERBROOKE with the intent to interfere with
SURFWARE’s prospective economic advantage by misappropriating trade secrets and
other confidential information and engaging in unfair competition.

121. SORENSEN breached his contractual duties to SURFWARE by refusing to
perform the terms and conditions thereof, knowing full well that his active participation
as CEO and President was a material part of the compensation paid to him, by taking
steps to form CELERITIVE while he was still employed with SURFWARE, by
soliciting or accepting business from SURFWARE’s customers by Soliciting
employment from SURFWARE’s employees encouraging and/or inducing
SURFWARE’s employees to leave SURFWARE and join a competing company, and
by using the proprietary and confidential information made available to him as CEO and
President to assist COLEMAN AND SHERBROOKE in competing directly with
SURFWARE CELERITIVE was formally incorporated on April 26, 2007.

122. In his improper and unfair use of deceptive means to solicit, induce and
hire COLEMAN and SHERBROOKE, SORENSEN breached his employment
agreement, which prohibited him from soliciting or inducing any employee of
SURFWARE to terminate employment with SURFWARE (Sorensen Employment
Agreement, Section 11).

123. AS a direct and proximate result of the INDIVIDUAL DEFENDANTS’
conduct, SURFWARE has suffered substantial damages SURFWARE is entitled to
lost profits suffered as a result of the INDIVIDUAL DEFENDANTS’ conduct in an
amount to be determined at trial and the costs and fees of prosecuting this action.

DEFENDANTS should forfeit income and profits resulting from their unlawful conduct.

 

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124. The exact amount of SURFWARE’s damages is presently unascertainable
and continuing to accrue SURFWARE will prove the exact amount and nature of these
damages at the time of trial.

125. The INDIVIDUAL DEFENDANTS performed the foregoing acts conduct
and omissions fraudulently, maliciously and oppressively, with the specific intent to
deprive SURFWARE of its lawful rights to its proprietary and confidential information
and to otherwise cause injury to SURFWARE By reason of the INDIVIDUAL
DEFENDANTS’ conduct, SURFWARE is entitled to an award of punitive damages

according to proof at trial.

EIGHTH CAUSE OF ACTION

(Breach of Written Contract;
Against The Individual Defendants)

126. SURFWARE hereby incorporates by reference Paragraphs 1 through 125
as though fully set forth herein.

127. The INDIVIDUAL DEFENDANTS owed contractual duties to
SURFWARE. Each INDIVIDUAL DEFENDANT signed written lnventions
Agreements and other written agreements in which they agreed that both during and
after their employment with Surfware to maintain the confidentiality of Surfware’s
proprietary and trade secret information. The INDIVIDUAL DEFENDANTS breached
their contractual duties to SURFWARE by using confidential and proprietary trade
secret information acquired at Surfware to wrongfully compete against SURFWARE for
their own personal gain and benefit.

128. Each INDIVIDUAL DEFENDANT signed the following sections of the
Inventions Agreement:

I will not disclose or use at any time, either during or after my
employment with Surfware, any Confidential Information except
for the exclusive benefit of Surfware as required by my duties for

Surfware, or as Surfware expressly may consent to in writing. I

 

Case Name: Surfware, Inc. vs 31 COMPLAINT FOR DAMAGES
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will cooperate with Surfware and use my best efforts to prevent
the unauthorized disclosure, use, or reproduction or any or all
Confidential Information. (Inventions Agreement, Section l(c)).

* >1= * *
1 agree to communicate to Surfware as promptly and fully as
practicable all Inventions (as defined below) conceived or reduced
to practice by me (alone or jointly by others) at any time during

my employment with Surfware (Inventions Agreement, Section
2(a)).
* >|< >l< >l<
. . .during my employment with Software, 1 will not, without
Surfware’s express written consent, engage in any employment or
business other than for Surfware, or invest in or assist (in any
manner) any business competitive with the business of the future
business plans of Surfware, other than small passive interests in
publically traded companies (Inventions Agreement, Section
3(a)).
129. SORENSEN agreed in Section 2 of his Employment Agreement to the
following:

You acknowledge that upon commencement of your employment,
you will owe a duty of loyalty to Surfware and that all of your
services Shall be performed conscientiously and to the fullest
extent of your abilities You will not engage or participate in any
business that is competitive with the business of Surfware You
will be expected to comply with and be bound by Surfware’s
operating policies procedures and practices (Sorensen

Employment Agreement, Section 2).

 

Case Name: Surfware, Inc. vs. 32 COMPLAINT FOR DAMAGES
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130. SORENSEN agreed in Section 11 of this Employment Agreement to the
following:

During the term of this Agreement and for one year thereafter,
you will not, on your own behalf or on behalf of any third party,
solicit or induce any employee of SURFWARE to terminate
employment with SURFWARE (Sorensen Employment
Agreement, Section 11).

131. OLEMAN and SHERBROOKE agreed in their Mutual Non-Disclosure
Agreements (“NDA”) with SURFWARE to the following:

The Receiving Party understands and agrees that it is not allowed
to sell, license, develop or otherwise exploit any parts products
services documents or information which embody in whole or in
part any Confidential Information. (NDA, Section 5).

132. The INDIVIDUAL DEFENDANTS knew at all times during their
employment with SURFWARE that they were obligated, as material terms and
conditions of the compensation paid to them by SURFWARE, to act exclusively in the
interests of SURFWARE for so long as they remained employed there and to honor the
terms of the written agreements described hereinabove

133. The INDIVIDUAL DEFENDANTS breached their contractual duties to
SURFWARE by refusing to perform the terms and conditions of their employment
agreements Specifically, the INDIVIDUAL DEFENDANTS, while still employed at
SURFWARE planned to: (1) create a competing entity later to be called
“CELERITIVE” and began working as agents of this entity in violation of their
obligations to SURFWARE; (2) solicit and induce SURFWARE’s employees to resign
from their employment with SURFWARE and join CELERITIVE; and (3) use the
proprietary and confidential information made available to them in strict confidence in

their capacities of executive vice presidents and CEO and President of SURFWARE to

 

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Case No:

 

 

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assist CELERTIVE in competing directly with SURFWARE CELERITIVE was
formally incorporated on April 26, 2007.

134. As a proximate result of the INDIVIDUAL DEFENDANTS’ breaches of
their contracts SURFWARE has suffered substantial damages in a sum which is
presently unascertainable and continuing to accrue SURFWARE will present evidence

of the exact amount and nature of these damages at the time of trial.

NINTH CAUSE OF ACTION

(Breach of Covenant of Good Faith and Fair Dealing;
Against The Individual Defendants)

135. SURFWARE hereby incorporates by reference Paragraphs 1 through 134
as though fully set forth herein.

136. The Agreements described above, respectively, constitute valid and binding
contracts between the INDIVIDUAL DEFENDANTS and SURFWARE Implied by
law into each of these agreements is a covenant of good faith and fair dealing which
prohibited the INDIVIDUAL DEFENDANTS from engaging in any actions that would
deprive SURFWARE of the benefits of its agreements with the INDIVIDUAL
DEFENDANTS.

137. The INDIVIDUAL DEFENDANTS violated their covenants of good faith
and fair dealing by taking actions designed to deprive SURFWARE of the benefits that
they bargained for in entering into the written agreements with the INDIVIDUAL
DEFENDANTS.

138. Specifically, whether or not such actions constitute a breach of the
INDIVIDUAL DEFENDANTS contractual obligations to SURFWARE, INDIVIDUAL
DEFENDANTS refused to perform their obligations to SURFWARE for the purpose of
depriving SURFWARE of the benefits of its agreements with them, and used
proprietary and confidential information made available to INDIVIDUAL
DEFENDANTS as executive vice president and CEO and President to assist
CELERITIVE in competing directly with SURFWARE.

 

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139. As a proximate result of the INDIVIDUAL DEFENDANTS’ breach of
their covenants of good faith and fair dealing, SURFWARE has suffered substantial
damages SURFWARE is entitled to lost profits suffered as a result of the
INDIVIDUAL DEFENDANTS’ breaches in an amount to be determined at trial and for
the costs and fees incurred in prosecuting this action.

140. The exact amount of SURFWARE’s damages is presently unascertainable
and continuing to accrue SURFWARE will prove the exact amount and nature of these

damages at the time of trial.

TENTH CAUSE OF ACTION

(Breach of Fiduciarv Duty;
Agalhst The lndividual Defendants)

141. SURFWARE hereby incorporates by reference Paragraphs l through 140
as though fully set forth herein.

142. As officers of SURFWARE, the INDIVIDUAL DEFENDANTS owed
fiduciary duties to SURFWARE to act at all times in the interests of SURFWARE, to
always prefer the interests to SURFWARE to their own self-interest, and to refrain from
engaging in any conduct that would work injury to the corporation or deprive it of
opportunities

143. The INDIVIDUAL DEFENDANTS breached their fiduciary duties to
SURFWARE by planning to create and creating a business entity that directly competed
and continues to compete with SURFWARE; using the proprietary and confidential
information made available to them as employees and officers of SURFWARE to usurp
SURFWARE’S corporate opportunities and to unfairly and directly compete with
SURFWARE; gaining access to and misappropriating SURFWARE’s source codes and
client lists in order to use such information for their own personal gain and profit to the
injury of SURFWARE; and inducing the other two INDIVIDUAL DEFENDANTS to
resign from their employment at SURFWARE and to join CELERTIVE. All of the

 

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foregoing acts were committed while the INDIVIDUAL DEFENDANTS were
employed at SURFWARE and bound by their fiduciary obligations to their employer.

144. As a proximate result of the INDIVIDUAL DEFENDANTS’ breaches of
their fiduciary duties to SURFWARE, SURFWARE has suffered substantial damages
The exact amount of SURFWARE’s damages as a result of the INDIVIDUAL
DEFENDANTS’ conduct as alleged herein, is presently unascertainable and continuing
to accrue SURFWARE will prove the exact amount and nature of these damages at the
time of trial.

145. SURFWARE is entitled to lost profits suffered as a result of the
INDIVIDUAL DEFENDANTS’ breaches in an amount to be determined at trial, and for
the costs and fees incurred in prosecuting this action. DEFENDANTS also should
forfeit any and all compensation or economic benefit of any type that they received
from SURFWARE during the period of their disloyalty and breaches of fiduciary duty
as described hereinabove

146. The INDIVIDUAL DEFENDANTS performed the foregoing acts conduct
and omissions fraudulently, maliciously and oppressively, with the specific intent to
deprive SURFWARE of its lawful rights to its proprietary and confidential information
and to otherwise cause injury to SURFWARE By reason of the INDIVIDUAL
DEFENDANTS’ conduct, SURFWARE is entitled to an award of punitive damages

according to proof at trial.

ELEVENTH CAUSE OF ACTION

(Breach of Dutv of Loyaltv;
Against The Individual Defendants)

147. SURFWARE hereby incorporates by reference Paragraphs 1 through 146
as though fully set forth herein.

148. As employees of SURFWARE, the INDIVIDUAL DEFENDANTS owed a
duty of loyalty to SURFWARE to act at all times in the interests of SURFWARE, to

always prefer the interests to SURFWARE to their own self-interest, and to refrain from

 

Case Name: Surfware, Inc. vs 36 COMPLAINT FOR DAMAGES
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Case No:

 

 

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engaging in any conduct that would work injury to the corporation or deprive it of
opportunities

149. The INDIVIDUAL DEFENDANTS breached their duty of loyalty to
SURFWARE by planning to create and creating a business entity that directly competed
and continues to compete with SURFWARE; using the proprietary and confidential
information made available to them as employees and officers of SURFWARE to usurp
SURFWARE’S corporate opportunities and to unfairly and directly compete with
SURFWARE; gaining access to and misappropriating SURFWARE’s source codes and
client lists in order to use such information for their own personal gain and profit to the
injury of SURFWARE; and inducing the other two INDIVIDUAL DEFENDANTS to
resign from their employment at SURFWARE and to join CELERTIVE. All of the
foregoing acts were committed while the INDIVIDUAL DEFENDANTS were
employed at SURFWARE and bound by their duty of loyalty to their employer.

150. As a proximate result of the INDIVIDUAL DEFENDANTS’ breaches of
their duty of loyalty to SURFWARE, SURFWARE has suffered substantial damages
The exact amount of SURFWARE’s damages as a result of the INDIVIDUAL
DEFENDANTS’ conduct as alleged herein, is presently unascertainable and continuing
to accrue SURFWARE will prove the exact amount and nature of these damages at the
time of trial.

151. SURFWARE is entitled to lost profits suffered as a result of the
INDIVIDUAL DEFENDANTS’ breaches in an amount to be determined at trial, and for
the costs and fees incurred in prosecuting this action. The INDIVIDUAL
DEFENDANTS also should forfeit any and all compensation or economic benefit of
any type that they received from SURFWARE during the period of their disloyalty and
breaches of fiduciary duty as described hereinabove

152. The INDIVIDUAL DEFENDANTS performed the foregoing acts conduct

and omissions fraudulently, maliciously and oppressively, with the specific intent to

 

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deprive SURFWARE of its lawful rights to its proprietary and confidential information
and to otherwise cause injury to SURFWARE By reason of the INDIVIDUAL
DEFENDANTS’ conduct, SURFWARE is entitled to an award of punitive damages

according to proof at trial.

TWELFTH CAUSE OF ACTION

(Violation of Business and Professions Code §17500 et seq. _
Untrue and Misleading Advertising; Against All Defendants)

153. SURFWARE hereby incorporates by reference Paragraphs 1 through 152

 

as though fully set forth herein.

154. California’s False Advertising law (Bus & Prof. Code §§ 17500, et seq.)
makes it unlawful for any person to make or disseminate or cause to be made or
disseminated before the public in this state, . . . in any advertising device . . . or in any
other manner or means whatever, including over the Internet, any statement, concerning

. . personal property or services professional or otherwise, or performance or
disposition thereof, which is untrue or misleading and which is known, or which by the
exercise of reasonable care should be known, to be untrue or misleading

155. CELERITIVE and COLEMAN have published to members of the public in
this state, in their advertising, including articles in industry publications and over the
Internet, statements concerning COLEMAN’s role in the development of TrueMill®
machining software

156. On information and belief, the statements were published with the
knowledge consent and authorization of all DEFENDANTS.

157. The statements were false and misleading The statements were intended to
and have confused and misled SURFWARE’s customers and potential customers about
the ownership of SURFWARE’s proprietary technologies

158. DEFENDANTS knew, or with the exercise of reasonable care should have

known, that the statements were false and misleading

 

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159. DEFENDANTS’ actions in violation of Section 17500 were false and
misleading such that the general public is and was likely to be deceived.

160. As a direct and proximate result of these acts Defendants have been and
will be unjustly enriched at the expense of SURFWARE and the general public.

161. Pursuant to Business & Professions Code § 17535 SURFWARE seeks an
order awarding restitution of all monies wrongfully acquired by DEFENDANTS by
means of their false statements plus interest and attorneys fees pursuant to, inter alia,
Code of Civil Procedure § 1021.5.

162. Unless restrained, DEFENDANTS will continue to engage in the acts
conduct and omissions set forth above which have resulted and will continue to result in
irreparable injury to SURFWARE and the general public. SURFWARE therefore seeks

injunctive relief to enjoin the practices described herein.

THIRTEENTH CAUSE OF ACTION

(Violation of Business and Professions Code §17200_
Unfair Business Practices; Against All Defendants)

163. SURFWARE hereby incorporates by reference Paragraphs 1 through 162
as though fully set forth herein.

164. The acts and practices of DEFENDANTS as alleged herein constitute
unlawful, unfair, and fraudulent business acts and practices within the meaning of
California Business & Professions Code § 17200, et seq.

165. DEFENDANTS engaged in “unlawful” business acts and practices by
misappropriating SURFWARE’s trade secret and confidential information to gain a
competitive advantage over SURFWARE; by the INDIVIDUAL DEFENDANTS’
breaches of their duties of loyalty and fiduciary duties as hereinabove described; by
interfering with SURFWARE’s contractual relations with its customers by soliciting
SURFWARE’s employees by publishing misleading articles misstating COLEMAN’s

role in the development of TrueMill® machining software which have misled the

 

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general public; and, on information and belief, engaging in other unfair and deceptive
acts in violation of Section 17200. SURFWARE reserves the right to allege other
violations of law which constitute unlawful acts or practices Such conduct is ongoing
and continues to this date

166. DEFENDANTS also engaged in a “fraudulent” business act or practice in
that the representations and omissions described herein are false and/or likely to deceive
potential and current customers

167. DEFENDANTS also engaged in “unfair” business acts or practices in that
the harm caused by DEFENDANTS’ conduct outweighs any utility of such conduct and
such conduct offends public policy, is immoral, unscrupulous unethical, deceitful and
offensive, and causes substantial injury to consumers

168. The aforementioned unlawful, fraudulent, and unfair business acts or
practices conducted by DEFENDANTS still continue to this day. DEFENDANTS have
failed to publicly acknowledge the wrongful nature of their actions and have not
corrected the advertisements

169. Defendants’ wrongful conduct adversely impacts the public interest.

170. As a direct and proximate result of DEFENDANTS’ violation of California
Business and Professions Code §§ 17200 et seq., SURFWARE has suffered substantial
damages

171. SURFWARE requests that the court enter such orders as may be necessary
to restore to SURFWARE all sums which DEFENDANTS wrongfully acquired by
means of unlawful, unfair and fraudulent conduct, as provided in Business &

Professions Code §17203, Civil Code §3345, and for other appropriate relief.

FoURTEENTH CAUSE oF ACTION
jCivil Cons}iiracy,'
Against e en ants)
172. SURFWARE hereby incorporates by reference Paragraphs 1 through 171
as though fully set forth herein.

 

Case Name: Surfware, Inc. vs 40 COMPLAINT FOR DAMAGES
Celeritive Technologies, lnc., et al.
Case No:

 

 

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173. The INDIVIDUAL DEFENDANTS had an agreement to breach their
duties of loyalty and fiduciary duties to SURFWARE as more fully described above ln
committing the acts set forth hereinabove, the INDIVIDUAL DEFENDANTS were at
all times acting for their own personal gain and benefit, not for SURFWARE’s benefit
and not in the course and scope of their employment with SURFARE.

174. DEFENDANTS agreed to interfere with SURFWARE’s contractual
relations with its employees and customers to interfere with SURFWARE’s prospective
economic advantage with its customers to commit fraud against SURFWARE by
accessing SURFWARE’S computer System to steal its proprietary source codes and
other confidential information as hereinabove described in order to gain an unfair
competitive advantage

175. DEFENDANTS agreed to engage in unfair business practices in violation
of California Business and Professions Code § 17200 and false and deceptive
advertising in violation of California Business and Professions Code § 17500 et seq., as
is more fully set forth above

176. As a proximate result of the DEFENDANTS’ conduct, SURFWARE has
suffered substantial damages The exact amount of SURFWARE’s damages as a result
of the INDIVIDUAL DEFENDANTS’ conduct as alleged herein, is presently
unascertainable and continuing to accrue SURFWARE will prove the exact amount
and nature of these damages at the time of trial.

177. SURFWARE is entitled to lost profits suffered as a result of the
DEFENDANTS’ conduct in an amount to be determined at trial, and for the costs and
fees incurred in prosecuting this action. DEFENDANTS also should forfeit any and all
compensation or economic benefit of any type that they received from SURFWARE
during the period of their disloyalty and breaches of fiduciary duty as described

hereinabove

 

Case Name: Surfware, Inc. vs 41 COMPLAlNT FOR DAMAGES
Celeritive Technologies, Inc., et al.
Case No:

 

 

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178. The DEFENDANTS performed the foregoing acts conduct and omissions

fraudulently, maliciously and oppressively, with the specific intent to deprive

SURFWARE of its lawhil rights to its proprietary and confidential information and to
otherwise cause injury to SURFWARE By reason of the INDIVIDUAL
DEFENDANTS’ conduct, SURFWARE is entitled to an award of punitive damages

according to proof at trial.

 

 

PRAYER FOR RELIEF
NOW, THEREFORE, Plaintiff SURFWARE PRAYS FOR RELIEF AS
FOLLOWS:

1. For preliminary and permanent injunctive relief;

2. For damages according to proof;

3. For an order of restitution by all Defendants of all sums improperly
obtained; For an order requiring the Individual Defendants to
disgorge all compensation they received from SURFWARE during
the period of their disloyalty and breaches of fiduciary duty;

4. F or an order enjoining all Defendants from engaging in unfair,
unlawful and/or fraudulent business practices including, without
limitation, misappropriating and/or utilizing SURFWARE’s
confidential and proprietary information;

5 . For an order prohibiting Defendants’ unfair and fraudulent business
practices and false and misleading statements

6. For punitive damages according to proof as all but the First, Eighth,
Ninth, Twelfth and Thirteenth Causes of Action;

7. For prejudgment interest;

8. For reasonable attorneys fees and costs of suit; and

9. For such other relief as the Court may deem proper.

Case Name: surfware, Inc. vs. 42 COMPLAINT FoR DAMAGES

Celeritive Technologies, Inc., et al.

Case No:

 

 

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DEMAND FOR JURY TRIAL

Plaintiff SURFWARE, INC. respectfully demands ajury trial.

Dated: October 14, 2008

Dated: October 14, 2008

JA

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Ta edman

Attome s for Plaintiff
SURF ARE, INC.

By:

 

 

WENNERGREN LAW OFFICES, APC

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§§:n§:éz::/Plaintiff
URF ARE, INC.

 

 

Case Name: Surfware. lnc. vs

43 COMPLAlNT FOR DAMAGES

Celeritive Technologics. lnc., cl al.

Case No:

 

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EXH|B|T A

 

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SURFWARE, lNC.
NEW EMPLOYEE CONFIDENTIAL INFORMAT[ON AND INVENTIONS AGREEMENT

l acknowledge that Surfware, inc. ("Surfware") operates in a competitive environment`and that it enhances its opportunities to
succeed by establishing certain policies including those in this Agreement. 'I`his Agreement is designed to make clear that (i) l
will maintain the confidentiality of Surfware`s Confidential Information; (ii) I will usc Surfwarc`s Conlidential information for
the exclusive benefit of Surfwarc; (iii) inventions that l create will be owned by Surfware; (iv) my prior and continuing
activities separate from Surfware will not confiict with Surfware‘s development of its Conlidential rights; and (v) when and if
my employment with Surfware terminates 1 will not use Surfwarc’s Contidential Information to the detriment of Surfware, in
consideration of my employment by Surfware and other good and valuable consideration associated with my employment by
Surfware. l agree:

l. Provisions Re|ated to Confidential information. ~

(a) l acknowledge that Surfware possesses and will continue to develop and acquire valuable Conlidential Information (as
defined below), including information that 1 may develop or discover as a result of my employment with Surfware, The value of
that Confidential information depends on it remaining confidential. Surfware depends on me to maintain that confidentiality.
and l accept that position of trust.

(h) As used in this Agreement, "Conlidential Inf`ormation" means any information (including any ideasl concepts knowhow,
structures information, l`ormula, algorithm, pattern, compilation. dcvice, method, techniquel process or materials) that derives
independent economic value, actual or potential, from not being generally known to the public or to other persons who can
obtain economic value from its disclosure or use, and includes information of Surfware, its customers suppliers joint venturers
|icensors, licensees distributors and other persons and entities with whom Surfware does business Conlidential lnfomiation
includes without limitation, customer and employee lists. Conlidential Company source code and other software, sales and _
marketing plans, product development plans schedules pricing information. third party confidential inforrnation, and other data
identilicd to mc as Confidential Information from time to time.

(c) l will not disclose or use at any time, either during or after my employment with Surfware, any Confidential Information
except for the exclusive benefit of Surfware as required by my duties for Surfware, or as Surfware expressly may consent to in
writing. l will cooperate with Surfware and use my best efforts to prevent the unauthorized disclosure,-use, or reproduction of
any or all Confidential_ lnfonnation.

(d) Upon leaving employment with Surfware for any reason. l immediately will deliver to Surfware all tangible, written,
graphical, machine readable. and other materials tincluding all copies) in my possession or under my control containing or
disclosing Conlidential information. `

2. Owncrshig of Inventions

(a) l agree to communicate to Surfware as promptly and fully as practicable all Inventions (as defined helow) conceived or
reduced to practice by me (alone orjointly by others) at any time during my employment by Surfware, l hereby assign to
Surfware and/or its nominees all my right, title. and interest in such inventions and all my rightl title, and interest in any
patents copyrights patent applications or copyright applications based thereon. 1 will assist Surfware and/or its nominees
(without charge but at no expense to me) at any time and in every proper way to obtain for its and/or their own benefit. patents
and copyrights for all such inventions anywhere in the world and to enforce its and/or their rights in legal proceedings

(h) A`s used in this Agreement, the term "lnventions"' includes but is not limited to, all discoveries improvements. processes
developments designs know-ht)w, data, computer programs algorithms, and formulae, whether patentable or unpatentable

(c) Any provision in this Agreement requiring mc to assign my rights in any lnvention does not apply to an lnvention which
qualities under the provisions of Section 2870 of the California Labor Code. That section provides that the requirement to
assign "shall not apply to an invention that the employee developed entirely on his or her own time without using the employer's
cquiptnent, supplies facilities or trade secret infomiation except for those inventions that either (_l) relate at the time of
conception or reduction to practice ol` the invention to thc cmployer's business or actual or demonstrably anticipated research
or development of the employer; or (2) result from any work performed by the employee for the cmployer." l undetstand that l
bear thc burden of proving that an invention qualifies under Section 2870. '

(d) l hereby irrevocably designate and appoint Surfware and each of its duly authorized officers and agents as my agent and
attorney-in-fact to act for and in my behalf and stead to execute and tile any document and to do all other lawfully permitted
acts to further the prosecution, issuance and enforcement of patents copyright and other Confidential rights with the same force
and effect as il`executed and delivered by mc. . 1

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Employee Conlidential lnformation and inventions Agreement March l. 2004

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3. Conflicts with Other Aetivities

(a) My employment with Surfware requires my undivided attention and effort. Thereforc, during my employment with

Surfware. l will not. without Surfware's express written consent, engage in any employment or business other than for Surfware, `
or invest in or assist (in any manner) any business competitive with the business or the future business plans of Surfware, other
than small passive interests in publicly traded companies

(b) l agree that during my employment with Surfware,'and for two years following its termination for any reason, l will not,
without Surfware's express written consent, contact or solicit employees of Surfware for the purpose of hiring them.

(c) My employment with Surfware and my compliance with this Agreement do not and will not breach any agreement to keep
in confidence information acquired by me prior to or outside of my employment with Surfware. l have not brought and will not
bring with tne to Surfware for use in the performance of my duties at Surfware any materials documents or information ofa
former employer or any third party that are not generally available to the public unless l have obtained express written
authorization from the owner for their possession and use by or for Surfware. I have not entered into, and will not enter iato.
any agreement, either written or oral, in conflict with this Agreement. -

(a) My obligations under this Agreement may not bc modified or tcmtinated, in whole or in part. except in a writing signed by
the CEO, President, or other Ofliccr of Surfware. Any waiver by Surfware of a breach of any provision of this Agreement will
not operate or be construed as a waiver of` any subsequent breach.

(b) Each provision of this Agreement will he treated as a separate and independent elause, and the unenforceability of any one
provision will not impair the enforceability of any other provision. lf any provision is held to be unenforceable, such provision
will bc construed by the appropriate judicial body by limiting or reducing it to the minimum extent necessary to make it legally
enforceable

(c) My obligations under this Agreement will survive the termination of my employment, regardless of the manner of'such
termination. This Agreement will inure to the benefit of and be binding upon the successors and assigns of Surfware.

(d) l understand that the provisions of this Agreement are amaterial condition to my employment with Surfware. l also
understand that (i) my employment is “at-will" and may be terminated by me or Surfware at any time without notice; (ii) this
Agreement is not an employment contract; and (iii) nothing in this Agreement creates any right to my continuous employment
by Surfware or to my employment for any particular term.

(c) Any breach of` this Agreement likely will cause irreparable harm to Surfware for which money damages could not
reasonably or adequately compensate Surfware. Accordingly, l agree that Surfware will be entitled to injunctive relief to
enforce this Agreement, in addition to damages and other available remedies

(l`) This Agreement will bc governed and interpreted in accordance with the laws of the State of California governing a contract
made and wholly performed within California (wilhout regard to its conflict of laws rules). `
( g) This Agreement contains the complete agreement between Surfware and me concerning the subject matter hereof and

supersedes all other agreements and understandings This Agreement may be executed in counterparts This Agreement will be
deemed effective as of the start of Employce's employment with Surfware,

CAUTION: THlS AGREEMENT CREATES IMPORTANT OBLIGATIONS OF TRUST AND AFFECTS THE
EMPLOYEE'S RIGHTS TO INVENTIONS 'I'HE EMPLOYEE MAY MAKE DURING HIS OR HER
EMPLOYMENT. ' ' `

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Emplt%e Signature Date Surfware Signalure Date
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Printcd Employee Name ' _ Printed Name

Employec Coafidcntial information and inventions Agreement March l. 2004 `

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EXH|BiT B

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. NEW EMPLO¥EE CONFlDENTIAL lNFORMATlON AND INVENTIONS AGREEMENT

l acknowledge that Surfware, lnc. ("Surfware") operates in a competitive environment and that it enhances its opportunities to
succeed by establishing certain policies, including those in this Agreement. This Agreement is designed to make clear that (i) l §-
will maintain the confidentiality of Surfware's trade secrets; (ii) l will use those trade secrets for the exclusive benefit of -'
Surfware; (iii) inventions that l create will be owned by Surl'ware; (iv) my prior and continuing activities separate from

Surfware will not conflict with Surfware's development of its proprietary rights: and (v) when and if my employment with

Surfware terminates l will not use my prior position with Surfware to the detriment of Surfware. ln consideration of my

employment by Surfware and other good and valuable consideration associated with my employment by Surfware, l_agree:

l. Provisions Related to Trade Secrets.

(a) l acknowledge that Surfware possesses and will continue to develop and acquire valuable Proprietary lnforrnation (as

defined below), including information that l may develop or discover as a result of my employment with Surfware. The value .
of that Proprietary information depends on it remaining contidential. Surfware depends on me to maintain that confidentiality, l_
and l accept that position of trust. '

(b) As used in this Agreement, "Proprietary lnformation" means any information (including any formula, algorithm, pattem,
compilation. device, method. technique, or process) that derives independent economic value, actual or potential, from not
being generally known to the public or to other persons who can obtain economic value from its disclosure or use, and includes
information of Surfware, its customers, suppliers, joint venturers, licensors, licensee, distributors and other persons and entities
with whom Surfware does business. Proprietary Information includes, without limitation. customer and employee lists,
proprietary Company source code and other software, sales and marketing plans. product development plans. schedules, \
pricing inforrnation, third party confidential infonnation, and other data identified to me as Proprietary lnforrnation li'om time j
to time. "

(c) l will not disclose or use at any time, either during or after my employment with Surfware, any Proprietary lnfonnation
except for the exclusive benefit of Surfware as required by my duties for Surfware, or as Surfware expressly may consent to in
writing. l will cooperate with Surfware and use my best efforts to prevent the unauthorized disclosure, use, or reproduction of
any or all Proprietary information.

(d) Upon leaving employment with Surfware for any reason, l immediately will deliver to Surfware all tangible, written,
graphical, machine readable, and other materials (including all copies) in my possession or under my control containing or
disclosing Proprietary lnfonnation.

2. Ownership of lnventions

(a) l agree to communicate to Surfware as promptly and fully as practicable all lnventions (as defined below) conceived or
reduced to practice by me (alone or jointly by others) at any time during my employment by Surfware. l hereby assign to
Surfware and/or its nominees all my right, title, and interest in such lnventions, and all my right, title, and interest in any
patents, copyrights, patent applications, or copyright applications based thereon. l will assist Surfware and/or its nominees
(without charge but at no expense to me) at any time and in every proper way to obtain for its and/or their own benefit, patents
and copyrights for all such lnventions anywhere in the world and to enforce its and/or their rights in legal proceedings.

(b) As used iii this Agreement, the term ”lnventions' includes, but is not limited to, all discoveries, improvements, processes.
developments, designs, know-how, data computer programs, algorithms, and formulae, whether patentable or unpatentable

(c)_ Any provision in this Agreement requiring me to assign my rights in any Invention does not apply to an invention which
qualifies under the provisions of Section 2870 of the California Labor Code. That section provides that the requirement to
assign "shall not apply to an invention that the employee developed entirely on his or her own time without using the
employers equipment, supplies, facilities, or trade secret information except for those inventions that either (l) relate at the
time of conception or reduction to practice of the invention to the employer's business, or actual or demonstrably anticipated
research or development of the employer', or (2) result from any work performed by the employee for the employer." l
understand that l bear the burden of proving that an lnvention qualifies under Section 2870.

(d) Notwithstanding the foregoing, l also assign to Surfware (or to any of its nominees) all rights which l may have or acquire
in any lnvention, full title to which is required to be in the United States by a contract between Surii)vare and the United States
or any of its agencies.

(c) l hereby irrevocably designate and appoint Surfware and each _of its duly authorized officers and agents as my agent and
attomey-in-fact to act for and in my behalf and stead to execute and file any document and to do all other lawfully permitted

New Employee Conf'idential lni`omiation and lnventions Agreement conlidOZ lO/27[95

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acts to further the prosecution, issuance and enforcement of patents, copyright and other proprietary rights with the same force
arld effect as if executed and delivered by me.

3. Conflicts' with Other Activities

(a) My employment with Surfware requires my undivided attention and effort. Therefore, during my employment with
Surfware, l will not without Surfware' s express written consent, engage in any employment or business other than for '
Surfware, or invest in or assist (in any manner) any business competitive with the business or the future business plans of
Surfware, other than small passive interests in publicly traded companies.

(b) l agree that during my employment with Surfware. and for two years following its termination for any reason,` l will not,
without Surfware's express written consent, contact or solicit employees of Surfware for the purpose of hiring them, and l will
not solicit the business of any client or customer of Surfware. .

(c) My employment with Surfware and my compliance with this Agreement do not and will not breach any agreement to keep
in confidence information acquired by me prior to or outside of my employment with Surfware. l have not brought and will
not bring with me to Surfware for use in the performance of my duties at Surfware any materials, documens or information of
a fortner employer or any third party that are not generally available to the public unless l have obtained express written
authorization from the owner for their possession and use by or for Surfware. l have not entered into, and will not enter into.
any agreement, either written or oral, in conflict with this Agreement,

4. Miscellarieous

 

(a) My obligations under this Agreement may not be modified or terininated, in whole or iii part, except in a writing signed by
the President Vice President, or other officer of Surfware. Any waiver by Surfware of a breach of any provision of this
Agreement will not operate or be construed a a waiver of any subsequent breach.

(b) Each provision of this Agreement will be treated as a separate and independent clause, and the unenforceability of any one
provision will not impair the enforceability of any other provision. lf any provision is held to bc unenforceable, such provision
will be construed by the appropriate judicial body by limiting or reducing it to the minimum extent necessary to make it legally
enforceable.

(c) My obligations under this Agreement will survive the termination of my employment, regardless of the manner of such
termination This Agreement will inure to the benefit of and be binding upon the successors and assigns of Surfware.

(d) l understand that the provisions of this Agreement are a material condition to my employment with Surfware. l also
understand that (i) my employment is “at-will" and may be terminated by me or Surfware at any time without notice; (ii) this
Agreement is not an employment contract; and (lli) nothing' in this Agreement creates any right to my continuous employment
by Surfware otto my employment for any particular term.

(c) Any breach of this Agreement likely will cause irreparable harm to Surfware for which money damages could not
reasonably or adequately compensate Surfware. Accordingly, l agree that Surfware will be entitled to injunctive relief to
enforce this Agreement, in addition to damages and other available remedies.

(f) This Agreement will be governed and interpreted in accordance with the laws of the State of California governing a
contract made and wholly performed within California.

(g) This Agreement contains the complete agreement between Surfware and me concerning the subject matter hereof and
supersedes all other agreements and understandings This Agreement may be executed' iii counterparts. This Agreement will be
deemed effective as of the start of Employee' s employment with Surfware.

CAUTION: THlS AGREEMENT CREATES lMPORTANT OBLlGATlONS OF TRUST AND AFFE(.'I'S THE
EMPLOYEE'S RlG HTS TO lNVENTlONS THE EMPLOYEE_ MAY MAKE DURING HIS OR HER
EMPLO¥MENT.

 

 

 

AGREED: AGREED AND ACKNOWLEDGED: SURFWARE, lnc.
3// _<_.’/09
E oyee Signature Date
6 L€,u,u COL€M ,.M/
Printed Employee Name
New Employee Confidential lnfonnation and lnventions Agreement confid02 10/27/95

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EXH|B|T C

 

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sURFwARE, INC. _
Nrsw EMPLoYEE CONFIDENTIAL lNFoRMATroN AND nvaNTIONS AGREEMENT

l acknowledge that Surfware, Inc. (“Surfware") operates in a competitive environment and that it enhances its opportunities to
succeed by establishing certain policies, including those in this Agreement This Agreement is designed to make clear that (i) I
will maintain the confidentiality of Surfware's Confidentiai Inforrnation; (ii) I will use Surfware's Confidential Information for
the exclusive benefit of Surfware; (iii) inventions that I create will be owned by Surfware; (iv) my prior and continuing
activities separate from Surfware will not conflict with Surfware's development of its Confidentiai rights; and (v) when and if
my employment with Surfware terminates lwill not use Surfware's Conlidentiai Information to the detriment of Surfware. in

consideration of my employment by Surfware and other good and valuable consideration associated with my employment by
Surfware, I agree:

i. Provisions Related to Coniidcntial Information.

 

(a) I acknowledge that Surfware possesses and will continue to develop and acquire valuable Coniidential Information (as
defined below), including information that I may develop or discover as a result of my employment with Surfware. The value of
that Confidential Information depends on it remaining confidential Surfware depends on me to maintain that confidentiality,
and l accept that position of trust.

(b) As used in this Agreement, "Coniidential Information" means any information (including any ideas, concepts, k:nowhow,
structures, information1 formuia, algorithm, pattem, compilation1 device, method, technique, process or materials) that derives
independent economic value, actual or potential, from not being generally known to the public or to other persons who can
obtain economic value from its disclosure or use, and includes information of Surfware, its customers, suppliers, joint venturers,
licensorsl iicensees, distributors and other persons and entities with whom Surfware does business. Contidential Information
includcs, without limitation, customer and employee lists, Conftdcntial Company source code and other software, sales and
marketing plans, product development plans. schedules, pricing inforrnation, third party confidential inforrnation, and other data
identified to me as Coniidential Information from time to time.

(c) i will not disclose or use at any time, either during or after my employment with Surfware, any Confidential lnfonnation
except for the exclusive benefit of Surfware as required by my duties for Surfware, or as Surfware expressly may consent to in
_~':'""-' ';;‘riting. l will cooperate with Surfware and use my best efforts to prevent the unauthorized disclosure, use, or reproduction of -
" ‘,_-_'_.;a`ty or all Confidential Information.

(d) Upon leaving employment with Surfware for any reason, I immediately will deliver to Surfware all tangible, written,
graphicai, machine readable, and other materials (including all copies) in my possession or under my control containing or
disclosing Confidential Information.

2. Ownership of inventions

(a) l agree to communicate to Surfware as promptly and fully as practicable all Inventions (as defined below) conceived or
reduced to practice by me (alone or jointly by others) at any time during my employment by Surfware. I hereby assign to
Surfware and/or its nominees all my right, title, and interest in such lnventions, and all my right, title, and interest in any
patents, copyrights, patent applications, or copyright applications based thereon. l will assist Surfware and/or its nominees
(without charge but at no expense to me) at any time and in every proper way to obtain for its and/or their own benefit, patents
and copyrights for all such Inventions anywhere in the world and to enforce its and/or their rights in legal proceedings.

(b) As used in this Agreement, the term "Inventions" inciudes, but is not limited to, all discoveries, improvements, processes,
developments, designs, know-how. data., computer programs, a.lgorithms, and formulae, whether patentable or unpatentable.

(c) Any provision in this Agreement requiring me to assign my rights in any Invention does not apply to an invention which
qualifies under the provisions of Section 2870 of the California Labor Code. That section provides that thc requirement to
assign "shall not apply to an invention that the employee developed entirely on his or her own time without using the employer's
equipment, supplies, facilities, or trade secret information except for those inventions that either (i) relate at the time of
conception or reduction to practice of the invention to the employer's business, or actual or demonstrably anticipated research
or development of the empioyer; or (2) result from any work performed by the employee for the employer." l understand that I
bear the burden of proving that an invention qualities under Section 2870.

(d) l hereby irrevocably designate and appoint Surfware and each of its duly authorized officers and agents as my agent and
attomey-in-fact to act for and in my behalf and stead to execute and file any document and to do all other lawfully permitted '

acts to further the prosecution, issuance and enforcement of patents, copyright and other Confidentiai rights with the same force
md effect as if executed and delivered by me.

3. Conflicts with Other Activities

 

Employee Confidcntial lnfonnation and inventions Agreement March ll 2004

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ja) My employment with Surfware requires my undivided attention and eti`ort. 'l'herefore, during my employment with
Surfware, l will not, without Surfware's express written consent, engage in any employment or business other than for Surfware,
or invest in or assist (in any manner) any business competitive with the business or the future business plans of Surfware, other
than small passive interests in publicly traded companies.

(b) I agree that during my employment with Surli)vare, and for two years following its termination for any reason, l will notl
without Surfware's express written consent, contact or solicit employees of Surfware for the purpose of hiring them.

(c) My employment with Surfware and my compliance with this Agreement do not and will not breach any agreement to keep
in confidence information acquired by me prior to or outside of my employment with Surfware. I have not brought and will not
bring with me to Surfware for use in the performance of my duties at Surfware any materials, documents or information of a
fenner employer or any third party that are not generally available to the public unless l have obtained express written
authorization firom the owner for their possession and use by or for Surfware. l have not entered into, and will not enter into,
any agreement either written or oral, in conflict with this Agreement

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(a) My obligations under this Agreement may not be modified or temtinated, in whole or in part, except in a writing signed by
the CEO, President, or other Ofticer of Surfware. Any waiver by Surfware of a breach of any provision of this Agreement will
not operate or be construed as a waiver of any subsequent breach.

(b) Each provision of this Agreement will be treated as a separate and independent clausel and the unenforceability of any one
provision will not impair the enforceability of any other provision. lf any provision is held to be unenforceable, such provision
`will be construed by the appropriate judicial body by limiting or reducing it to the minimum extent necessary to make it legally
enforceable -

(c) My obligations under this Agreement will survive the termination of my employment, regardless of the manner of such
termination This Agreement will inure to the benefit of and be binding upon the successors and assigns of` Surfi,vare.

(d) l understand that the provisions of this Agreement are a material condition to my employment with Surfware. l also
understand that (i) my employment is “at-will" and may be terminated by me or Surfware at any time without notice; (ii) this

' '-`"-:-`.Agreement is not an employment contract; and (iii) nothing in this Agreement creates any right to my continuous employment
,,.-by Surfware or to my employment for any particular term.

  

(e) Any breach of this Agreement likely will cause irreparable harm to Surfware for which money damages could not
reasonably or adequately compensate Surfware. Accordingly, l agree that Surfware will be entitled to injunctive relief to
enforce this Agreement, in addition to damages and other available remedies.

(f) This Agreement will be governed and interpreted i.n accordance with the laws of the State of California governing a contract
made and wholly performed within California (without regard to its conflict of laws rules).

(g) This Agreement contains the complete agreement between Surfware and me concerning the subject matter hereof and
supersedes all other agreements and understandings This Agreement may be executed in counterparts_ This Agreement will be
deemed effective as of the start of Employee's employment with Surfwar,e.

CAUTION: THIS AGREEMENT CREATES DVIPORTAN'I` OBLIGATIONS OF TRUST AND AFFECTS THE
EMPLOYEE‘S RIGH'I`S TO INVENTIONS THE EMPLOYEE MAY MAKE DURING HlS OR HER
EMI’LOYMENT.

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Employee Signature Date Surfware Signature Date
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Printed Errrployee Name ` Printed Name

Employee Confidential lnfonnation and lnventions Agreement March-l, 2004

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suRFWARE

Developers of SURFCA)A
Apn'l 18, 2006

Terry J Sorensen
800 East Route 66, #28
Glendora, CA 91740

Employment A greement

Dear 'I`erry:

Welcome to Surfware! On behalf of the Board of Directors of Surfware, Inc.
(“Surfware"), l am pleased to confirm our offer to have you join Surfware on the terms

set forth below.

1. Position. You will be employed by Surfware as its Chief Executive Ofii_cer and
President effective May l, 2006 (the "Conunencement Date") and continuing
thereafter until termination of your employment, You will have responsibility for
overall management of Surfware and will report directly to the Board of
Directors of Surfware (the "Board"). During your term of employment, you will
also be appointed to the Board. You will be expected to devote your Hlll vi:rking
time, energy, attention, and skill to the business of Surfware and to the pro o\"on

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of its interests.

2. Duties: lYou acknowledge that upon commencementh your employment, you
will owe a duty of loyalty to Surfware and that all of your services shall be
performed conscientiously and to the Eillest extent of your abilities. You will not
engage or participate in any business that is competitive with the business of
Surfware. You will be expected to comply with and be bound by Surfware's
operating policies, procedures and practices.

3. Salary. Your initial annual base salary will be S168,000, which will be payable
in accordance with Surfware's normal payroll practices with such payroll
deductions and withholdings as are required by law. Your base salary will be
reviewed on an annual basis and may be increased (but not d_ecreased) from time
to time, at the discretion of the Board.

4. Bonus. ln addition to your base salary,` you will be eligible to receive an `
lndividual Performance Bonus - up to 20% of salary based upon individual

performance of your job responsibilities and Surfware's protitability. Surfware
also has an Annual Company Bonus Program. Since this bonus is based upon

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company performance, we cannot promise that it will always be paid, or how
much it will be.

5. Term of Employment Your employment shall begin on the Commencement
Date and end on the second anniversary thereof, unless Surfware provides you
with notice of its intention to extend or renew the term of this Agreement within
60 days of the expiration of the initial term, or unless the Agreement is
terminated sooner in accordance with the provisions of Section 8 or 9.

6. Benefits. You will be eligible to participate in all benetit plans, now or hereafter
maintained by Surfware. Following are some of the highlights: You may
participate in our 401(k) program on the first day of the calendar quarter, and
medical and dental benefits on the first day of the calendar month following 30
days of employment Surfware offers five sick days and ten paid holidays a year,
two of which are “iloating holidays.” You will receive an automobile allowance
of $l ,000 per month. You will earn three (3) weeks of vacation annually.

7. Expense Reimbursement. Surfware will reimburse you for all reasonable
amounts actually expended by you in the course of performing your duties,
provided such expenses are accounted for in accordance with Surfware's policies

and procedures.

8. Termination Not for Cause: ln the event your employment is terminated for
the convenience of Surfware you shall receive, contingent upon your signing
Surfware's Severance Agreement and General Release, six months’ base salary
as separation pay. ln the event your employment is terminated due to death,
your estate or beneficiaries shall receive one and one-half year’s base annual

salary.

9. Termination for Cause: Surfware may terminate this Agreement for “Cause”
upon written notice to you, and your employment will terminate on the date
specified in such notice. For purposes of this Agreement, “Cause” means the
following actions or inactions by you:

a. Gross negligence, recklessness, dishonesty-, or willful misconduct in the
performance of your business duties; or

b. Conviction of any crime involving violence, fraud or moral turpitude; or

c. Continued material breach of this Employment Agreement or continued
failure in any material respect to perform your employment duties for
more than ten (10) business days after having received written notice
specifying the nature of the failure; or

d. Failure or inability for any reason (other than disability, paid time off, or
other leave provided by law) for a period often (10) business days to

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devote substantially all of your time during normal business hours to the
business of Surfware; or

e. Commission of any fraudulent conduct, conduct that constitutes a
violation of any laws, or a breach of fiduciary duties, including the duty of
loyalty, or other acts or conduct that materially affects Surfware's business

or reputation; or

f. Harassing or willfully injuring any employee of Surfware, or any other
person in the performance of services for Surfware, or the commission of
any act which in Surfware's reasonable, good faith judgment creates an
offensive or hostile work environment; or

g. Disclosing to a competitor or other unauthorized person Surfware's
confidential or proprietary inforrnation, or solicitation of business on
behalf of a competitor or potential competitor.

No act shall be willful if it is performed in good faith and with the belief that it is
in Surfware’s best interests. Surfware shall not be limited to termination as a
remedy for any improper or illegal act, but may also seek damages, injunction or
any other remedy as it may deem appropriate under the circumstances

IO. Confideotial Information and Invention Agreement. You agree to sign and
comply with Surfi)vare’s Confidential lnfonnation and Invention Agreement,
which agreement is attached hereto and incorporated herein.

ll.` Non-solicitation: During the term of this Agreement and for one year thereafter,
you will not, on your own behalf or on behalf of any third party, solicit or induce
any employee of Surfware to terminate employment with Surfware.

12. General:

a. Enforcemeut: ln the event of any action to enforce the terms of this
Agreement, the prevailing party shall be entitled to reasonable costs and
expenses of enforcement, including without limitation, reasonable

attomey’s fees.

-b. Entire Agreement: This Agreement, along with the Coniidential
Information and Invention Agreement, represent the entire agreement and
understanding between Surfware and you concerning your employment
with Surfware, and supersedes and replaces any and all prior agreements
and understandings concerning the subject matter hereof.

c. Amendment, Waiver: This Agreement may he amended only in a

writing signed by both parties. The failure of a party to insist upon strict
adherence to any term of this Agreement on any occasion shall not be

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considered a waiver of such party’s rights or deprive that party of the right
thereafter to insist upon strict adherence to that term or any other term of

Agreement,

d. Governing Law/Sevcrability: This Agreement shall be governed by the
laws of the State of California, without regard to or application of choice
of law rules or principles. In the event that any provision is declared by a
court of competent jurisdiction to be illegal, unenforceable or void, this
Agreement shall continue in full force and effect without said provision,
and there shall be deemed substituted for such invalid, illegal or
unenforceable provision such other provision as will most nearly
accomplish the intent of the parties to the extent permitted by applicable
law.

e. Notices: Notices under this Agreement must be in writing and will be
deemed to have been received when personally delivered, or- one day after
being sent by a well established commercial overnight service. Mail ed
notices will be addressed to you at the home address most recently
communicated to Surfware. Notices to Surfware will be addressed to its
General Counsel at Surfware's address.

f. Ackn owledgment: You acknowledge that you have had the opportunity
to discuss this matter with and obtain advice from your private attomey,
have had sufficient time to, and have carefully read and fully understand
all the provisions of this Agreement

Again Terry, we are very pleased to extend this offer of employment to you and look
forward to your joining Surfware. Please indicate your acceptance of the tenns of this
Agreement by signing in the place indicated below.

Very truly yours,

Ma,e__ <E§:._i;@ April 18,2005

Alan Diehl
Cliairrnan of the Board
Surfware, Inc.

Accepted:

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Terrj/ .l/'Sorensen

April 18,2006

 

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MUTUAL NON-DlSCLO§QRE AGREEMENT

Surfware, lnc., ("Surfware") and Evan Sherbrooke contemplate one or more meetings and various
communications which will involve the disclosure by Surfware and Glenn Coleman, to each other, of techxiical,
business, marketing, planning, and other information and data, in written, oral, magnetic, photographic and/or
other fonns, including information and data regarding tlie development of a Busiriess Plan for a new corporate
entity (NewCo) (collectively "Infonnation").

The parties agree as follows:

l. The Information shall be used by Surfware and G|enn Coleman solely for the purpose of developing a
Buiness Plan which if mutually agreed upon by both parties will lead to the formation of a new corporate
entity (NewCo) by Evan Sherbrooke and G|enn Coleman, in which Surfware, Inc. will have a (45%) full
equity interest.

2. The Information is proprietary to the disclosing party (the "Disclosing Party") and is, and shall remainl the
property of die Disclosing Party. lf either party, in disclosing Information to the other, desires to preserve
and protect the confidential and proprietary nature of such Information, the Disclosing Party shall identify
such lnfonnation as Confidential information in one of the following manners:

(a) if any of such Information is disclosed in written or graphic fomi, the Disclosing Party shall clearly
mark such Information as "Conf'rdential” or "Proprietary," or with words of similar import by
appropriate stamp or legend, and the written or graphic forms together with all oral communications
concerning said written or graphic forms and/or the subject matter thereof shall be considered
Contidential lnfonnation;

(b) if such Information is disclosed orally only, by way of demonstration, electronic means or otherwise,
the Disclosing Party shall identify such lnfonnation as ”Contidential" or "Proprietary" at the time of
oral or electronic disclosure or demonstration and shall confirm the same by delivery, to the
receiving party ("Receiving Party"), of a written identification of the Information so disclosed or
demonstrated within twenty (20) days of the date of such oral disclosure or demonstration -which has
been marked "Contidential" or "Proprietary".

3. Tangible forms of the Contidential lnfonnation shall not be copied, in whole or in pnrt, without the prior
written consent of the Disclosing Party.

4. The Receiving Party and its employees, officers, agents, and affiliates shall hold the Contidential
information in confidence and shall not, without the prior written consent of tire Disclosing Party, disclose
the Confidential information to either (a) persons within the Receiving Party's organization not having a
need to know, or (b) persons outside the Receiving Party's organization, regardless of the reason. The
Receiving Party shall use the same degree of care to avoid disclosure of lnfonnation as it employs with
respect to its own Conlidential Infonnation, using at least a reasonable stande of care. The Contidential
lnfonnation should not be used for any purpose unrelated to the purpose stated iri paragraph l. The
obligations of this paragraph also apply to the fact of the occurrence of all meetings and communications
of the parties which involve Confidcntial lnfonnation, the existence of the Contidential lnfonnation and to
this agreement itself, and shall survive the termination of this Agreement.

5. The Receiving Party understands and agrees that it is not allowed to sell, license, develop or otherwise
exploit any parts, products, services, documents or information which embody in whole or in` part any
Confidential Information.

6. The confidentiality and non-disclosure obligations of the previous paragraphs shall not apply if, and to the
extent that;

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(a) the Confidential Information was rightfully known to the Receiving Party prior to its receipt from the
Disclosing Party‘, -

(b) the Contidential Information is or becomes part of the public domain other than by the fault of the
Receiving Party;

(c) the Confidential lnfonnation is rightfully disclosed to the Receiving Party by a third party that is
legally tree to disclose such Contidential Information;

(d) such Confidential Information is independently developed by the Receiving Party without access to
the Disclosing Party's Contidential Information;

(e) disclosure is required by a judicial order or decree or governmental law or regulation, provided that
the Receiving Party promptly notifies the Disclosing Party of such requirement and reasonable
opportunity is allowed by the Receiving Party for the Disclosing Party to tile or obtain a protective
order or otherwise proceed to protect under applicable interests of the Disclosing Party;

(f) the Confidential lnfonnation is fumished to a third party by Disclosing Party without similar
confidentiality restriction on the third party.

7. Although this agreement does not restrict the receiving Party from working with a person or entity which
has independently developed information or materials similar to the Contidential Information, in such
circumstance, the Receiving Party agrees not to disclose the fact that any similarity exists between the '
Confidential lnfonnation and the independently developed information and materials, and the Receiving -
Party understands that such similarity does not excuse the Receiving Party from the nondisclosure and
' other obligations in this agreement -

8. All lnfonnation supplied by a Disclosing Party hereunder and all copies thereof, in whole `or in part and on '
all media, shall be remmed to the Disclosing Party by the Receiving Party promptly upon demand by the =
Disclosing Party. _ .

 

9. .The tirmishing of any lnfonnation hereunder shall not be construed as the granting of a license under any-...
- -patent, patent applications, copyright, copyright registration, trade secret or other proprietary right by the -'
Disclosing Party to the other or as implying any obligation other than is specifically stated herein.

-:10. With regard to lnfonnation exchanged by the parties hcreunder, the Receiving Party agrees not to export
such lnfonnation to any country to which such export is prohibited by laws and regulations of the
govemment of the United States. '

ll. This Agreement shall continue to govern the delivery of Information between the parties until terminated
by written notice from either party to the other. In the event of termination, this agreement shall continue
to apply with respect to lnfonnation that was supplied under this agreement prior to termination, and the
obligations as to confidentiality shall continue to apply for five years thereafter unless terminated sooner
under a provision of paragraph 6 or pursuant to a written authorization or agreement of the Disclosing

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12. Both parties recognize that each party is in the business of providing products to various customers, and
each party agrees that none of the provisions of this agreement will be construed to limit the other party’s
offering of products to such customers provided that such offerings are consistent with each party’s
obligations of confidence accepted herein. No right to use any Confidential or Proprietary information of
the other party exists, however, with respect to such offering of products by a party.

13. This Agreement shall apply to any Confidential lnfonnation that may have been provided to either party
prior to the effective date hereof. `

l4. This Agreement shall be binding on the respective parties hereto and their successors and permitted
assigns.

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15. This Agreement shall be governed by the laws of the State of Califomia, United States of America.

16. This Agreement is the entire agreement between the parties and supersedes any and all prior or
contemporaneous representations agreements and promises, written or oral between Surfware and
Company, regarding the subject matter of this Agreement. This Agreement may be modified only in
writing signed by both parties hereto.

WHEREFORE, by their signatures below, tlle parties hereto acknowledge that they have reviewed carefully
what has been expressed in this document, which they understand is a legally binding document, and that the

understandings and agreements expressed in this document are laid/W,@on them,

m ~ j/jz/~~-~'

By:
' di Signature
Name: 'l`e J Sorerlsen Name: Evan Sherbrooke
Plcasc print
Title: CEO and President
5703 Corsa Avenue Address: Y/L/é _D d Iéofa D/`

westlake village cA 91362 04 99 r le aj 4 ca Cg go .2 l

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MUTUAL NON-DISCLOSURE AGREEMENT

Surfware, inc.. ("Surfware") and Glenn Coleman contemplate one or more meetings and various
communications which will involve the disclosure by Surfware and Glenn Coleman, to each other, of technicai,
business, marketing, planning, and other information and data, in written, oral, magnetic, photographic and/or
other forms, including information and data regarding the development of a Business Plan for a new corporate
entity (NewCo) (coliectively "Infonnation").

The parties agree as follows:

i. The Information shall be used by Surfware and Glenn Coleman solely for the purpose of developing a
Buiness Pian which if mutually agreed upon by both parties will lead to the formation of a new corporate
entity (NewCo) by Glenn Coleman and Evan Sherbrooke,` rn which Surfware, Inc. will have a (45%) full
equity interest.

2. The Information is proprietary to the disclosing party (the "Disclosing Party") and is, and shall remain, the
property of the Disclosing Party. If either party, in disclosing information to the othcr, desires to preserve
and protect the confidential and proprietary nature of such lnformation, the Disclosing Party shall identify
such lnfonnation as Confidential Information in one of the following marmers:

(a) if any of such Information is disclosed-in written or graphic form, the Disclosing Party shall clearly
mark such lnfonnation as "Confidential" or "Proprietary," or with words of similar import by
appropriate stamp or legend, and the written or graphic forms together with all oral communications
concerning said written or graphic forms and/or the subject matter thereof shall be considered
Contidential Information; - - v

(b) if such lnfonnation is disclosed orally only, by way of demonstration, electronic means or otherwise, :
the Disclosing Party shall identify such lnfonnation as "Confidential" or "Proprietary" at the time of
oral or electronic disclosure or demonstration and shall confinn the same by delivery, to the
receiving party ("Receiving'Party"),'of a written identification of the information so disclosed or
demonstrated within twenty (20) days of the date of such oral disclosure or demonstration which has
been marked "Confidential" or "~Proprietary".

3. 'l`angrble forms of the Confidentiai lnfonnation shall not be copied, in whole or in part, without the prior
written consent of the Disclosing Party.

4. The Receiving Party and its employees, officers, agents, and affiliates shall hold the Contidential
lnfonnation in confidence and shall not, without the prior written consent of the Disclosing Party, disclose
the Confidential Information to either (a) persons within the Receiving Party's organization not having a
need to know, or (b) persons outside the Receiving Party's organization, regardless of the reason. The
Receiving Party shall use the same degree of care to avoid disclosure of lnfonnation as it employs with
respect to its own Confidential Information, using at least a reasonable standard of care. The Confidential
information should not be used for any purpose unrelated to the purpose stated in paragraph l. The
obligations of this paragraph also apply to the fact of the occurrence of all meetings and communications
of the parties which involve Confidential inforrnation, the existence of the Confidential lnfonnation and to
this agreement itself, and shall survive the termination of this Agreement.

5. The Receiving Party understands and agrees that it is not allowed to sell, license, develop or otherwise
exploit any parts, products, services, documents or information which embody in whole or in part any
Confidential Information.

6. The confidentiality and non-disclosure obligations of the previous paragraphs shall not apply if, and to the
extent that;

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(a) the Contidentiai Information was rightfully known to the Receiving Party prior to its receipt from the
Disclosing Party;

(b) the Contidentiai lnfonnation is or becomes part of the public domain other than by the fault of the
Receiving Party;

(c) the Contidentiai lnfonnation is rightfully disclosed to the Receiving Party by a third party that is
legally free to disclose such Contidentiai lnformation;

(d) such Contidentiai information is independently developed by the Receiving Party without access to
the Disclosing Party's Confidential inforrnation;

(e) disclosure is required by a judicial order or decree or govemmentai law or regulation, provided that
the Receiving Party promptly notifies the Disclosing Party of such requirement and reasonable
opporttmity is allowed by the Receiving Party for the Disclosing Party to file or obtain a protective
order or otherwise proceed to protect under applicable interests of the Disclosing Party;

(f) the Contidentiai lnfonnation is linnished to a third party by Disclosing Party without similar
confidentiality restriction on the third party.

7. Although this agreement does not restrict the receiving Party from working with a person or entity which
has independently developed information or materials similar to the Contidentiai Information. in such
circumstance, the Receiving Party- agrees not to'disclose the fact that any similarity exists between the. .. . ..
Confidentiai Information and the independently developed information and»materials, and the Receiving '- ~ i :-
Party understands that such similarity does not excuse the Receiving }’arty from the nondisclosure and. -- ' §
other obligations in this agreement.. ' . . '~ ' '_ "-.'~r~.~»-- =

8. Ail Information supplied by a Disclosing Party hereunder and all copies thereof, in whole or in part and on ' ‘ _ r ~; -.'
'all.media, shall be returned to the-Disclosing Party by the Receiving Party promptly upon demand by the "§" f . if .'
Disclosing Party. ' . ~ -* ' - ~ '-

h - 9. The fumishing of any Information hereunder shall not be construed as the granting of ailicense under any . .
patent, patent applications, copyright, copyright registration, trade secret or other proprietary right by the . :;_ ~-.-.'.- ' -
Disclosing Party to the other or as implying any obligation other than is specifically stated herein. - --

iO. With regard to lnfonnation exchanged by the parties hereunder, the Receiving Party agrees not to export .r.
such lnfonnation to any country to which such export is prohibited by laws and regulations of the
government of the United States.

ll. This Agreement shall continue to govern the delivery of lnfonnation between the parties until terminated
by written notice from either party to the other. in the event of termination, this agreement shall continue
to apply with respect to Information that was supplied under this agreement prior to termination, and the
obligations as to confidentiality shall continue to apply for live years thereafter unless terminated sooner
under a provision of paragraph 6 or pursuant to a written authorization or agreement of the Disclosing

Party.

12. Both parties recognize that each party is in the business of providing products to various customers, and
each party agrees that none of the provisions of this agreement will be construed to limit the other party’s
offering of products to such customers provided that such offerings are consistent with each party’s
obligations of confidence accepted herein. No right to use any Contidentiai or Proprietary information of
the other party exists, however, with respect to such offering of products by a party.

l3. This Agreement shall apply to any Contidentiai information that may have been provided to either party
prior to the effective date hereof`.

14. This Agreement shall be binding on the respective parties hereto and their successors and permitted
assigns.

Mutual Non-Disclosure Agreement 2 ' 2006

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15 . This Agreement shall be governed by the laws of the State of Califomia, United States of America.

16. This Agreement is the entire agreement between the parties and supersedes any and all prior or
contemporaneous representations, agreements and promises, written or oral between Surfware and
Company, regarding the subject matter of this Agreement. This Agreement may be modified only in
writing signed by both parties hereto.

WHEREFORE, by their signatures below, the parties hereto acknowledge that they have reviewed carefully
what has been expressed in this document, which they understand is a legally binding document, and that the
understandings and agreements expressed in this document are binding upon them,

 

 

 

 

 

 

 

SURFW C.
By:// By: /C)Z M _
' l ' mm l / Signature
Name: ererSorensen Name:Glenn Coleman
Please print
Title: CEOandPresident
5703 com Avenue Address: <*3#/6 E. Some-17- ?wa=/Ma- P-w=~/
westlak¢village,ca91362____\ . ,_ _ CA;,A; Crz€e~i_<__l A?: @S'Z_“S/.

Date: /6"/<)0`\)'0% f n ` _- Date: ///(, /DQ>

Mutual Non-Disclosure Agreement 3 - 2006

F-59

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge A. Howard Matz and the assigned
discovery Magistrate Judge is Andrew J. Wistrich.

The case number on all documents filed With the Court should read as follows:

CVOS- 6753 AHM (AJWX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASSIGNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR DlSCOVERY

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United States District Court

CQMTR HZ, DISTRICT GF CALIFORNIA

a Cal i fornia corporation

SURFWARE, INC.,

V.

an Arizona

CELERITIVE TECHNOLOGIES, INC.,

Corporation, TERRY SORENSON, an individual,
GLENN COLEMAN, an individual, EVAN
SHERBROOKE, an individual and DOES 1-25

TO:

(Name and address of Defendant)

SUMMONS IN A CIVIL CASE

CASE NUMBER:

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`.1';&3@§ EYEB’A K;éz ;W§§ §§ §§%Wit$a fay em§“

 

YOU ARE HEREBY SUMMONED and required to serve upon PLAINT|FF’S ATI'ORNEY (name and address)

Joel P. Kelly, Esq.

Nicky Jatana, ESq.

JACKSON LEWIS LLP

725 South Figueroa Street, Suite 2500
Los Angeles, California 90017-5408

Kenneth H. Wennergren,
Wennergren Law Offices
199 South Figueroa Street,
Ventura,

Esq.

3rd Floor

California 93001

an answer to the complaint which is herewith served upon you, within 20 days afterservice ofthis summons upon you,
exclusive of the day of service. lf you fail to do so, judgement by default will be taken against you for the relief demanded in
the complaint You must also file your answer with the Clerl< of this Court within a reasonable period of time after service.

CLERK,

,.at

LA’R E HORN

        
 

ncr 14 2003

DATE

 

ORlGlNAl_

AO-44O

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AO 440 (Rev. 8/01) Summons in a Civil Action

 

RETURN OF SERVICE

 

DATE
Service of the Summons and Complaint was made by me1

 

Name of SERVER TlTLE

 

Check one box below to indicate appropriate method of service

 

l:l Served Persona|ly upon the Defendant. Place where served:

\: Left copies thereof at the defendants dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

§ Returned unexecuted:

§ other (specify).~

 

STATEMENT OF SERV|CE FEES

 

TRAVEL SERV|CES TOTAL

 

DECLARAT|ON OF SERVER

 

l declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

(1) As to who may serve a summons see Ru|e 4 of the Federa| Rules of Civil Procedure

 

 

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT Ol*' CALIFORNIA

 

 

 

 

CIVIL COVER SHEET
I (a) PLAINT!FFS (Check box if you are representing yourself :] ) DEFENDANTS
SURFWARE, INC. , a California corporation cELERrTIvE Tl-:cai\ioLoGii-:s, INC., an Arizona
Corporat: ion , TERRY SORENSON, an individual , GLENN
COLEMAN , an individual , EVAN SHERBROOKE
(b) Attomeys (Firm Name, Address and 'I`elephone Number. lf you are representing Attomeys (lf Known)
yourself, provide same.)
Joel P. Kelly (#100716)
Nicky Jat:ana (#197682) Kennet:h H . Wennergren#086734
JACKSON LEWIS LLP Wennergren Law Offices
725 S . Figueroa St: . , #2500 199 S. Figueroa St: . , 3rd Flr
Los Angeles, CA 90017 Ventura, CA 93001
(213) 689-0404 (805) 643-3390
II. BASIS OF JURISDICTION (Place an X in one box only.) III. CITIZENSHIP OF PRINClPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
_ _ _ PTF DEF PTF DEF
§ l U-S- GOVemmem Pla“mff ill 3 Fed€!'al Q“e$tl°“ (U-S- Citizen of This State l:l l \:l l lncorporated or Principal Place g 4 l:l 4

:l 2 U.S. Govemment Defendant

Govemment Not a Party)

lV. ORlGIN (Place an X in one box only.)

l:[ 4 Diversity (lndicate Citizenship
of Parties in ltem III)

 

Citizen or Subject ofa
Foreign Country

Citizen of Another State [: 2 g 2

ljsEs

of Business in this State

Incorporated and Principal Place [:l 5 l:] 5
of Business irl Another State

Foreign Nation

l:l6l:l6

 

Kl l Original :l 2 Removed from l:l 3 Remanded from :l 4 Reinstated or l:l 5 Transferred from another district ij 6 M_ulti- l:l 7 Appeal to District
Proceeding State Court Appellate Court Reopened (Sp€Cify)I Dlstrlcf Judg_€ from
Litigation Magistrate Judge
v. REQUESTED iN coMPLAiNT; JURY DEMAND: El Yes l:l No (cheel< 'Yes' only if demanded m oomplamt.)

CLASS ACT[ON under F.R.C
Vl.

.P.zs: E Yes l:l No

CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejun'sdictiorlal statutes unless diversity.)

El MONEY nEMANi)Ei) iN colvil>LAiNT: s

 

 

 

 

 

 
 
 
   

 

 
 
    

 

 
 
 
    
   

 
 

18 U.S.C. § 1030 et S€q., 28 U.S.C. § 1331 and 28 U.S.C. § 1337(3.)
VII. NATURE OF SUlT (Place an X in one box only.)
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:l450 commeredicc [I 140 Negotiable instrument Liability 1:1 371 Trurh in Lendins Hab€as C°FP“S :] 30 §§§“;’I\';ls

Rates/etc. 150 Recovery of l:l 320 Assault, Libel & l:l 380 Other Personal l:l 530 General 7 R °‘;t_ gn¢;:
:l460 Deportation Overpayment & Sland¢r Pr°Pm)' Damage :l 535 Death Penalty D?§c‘:o;:§e Act
:]470 Racketeer influenced Enforcement of l:l 330 Fed. Employers’ § 385 Pmpeny Damage [___] 540 Mandamus/ l: ,

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5895 Freedom of lnfo. Act 220 Foreclosure ' ~ 5` l:l 446 American with :l 660 Occupational :l
900 Appeal ofFee Determi- § 230 Rent Lease & Ejecrment :] 462 Naturalizarion DiSabllitics - Safery/Heal;h ~ ~ '

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Actions 26 USC 7609
FOR OFFICE USE ONLY: Case Number:
AFTER COMPLETING THE FRONT SIDE OF FORl\/I CV- 71, COMPLETE THE INFORMATION REQUESTED BELOW.

Cv-71 (05/08) cv 0 8 _ 0 67 5 j civiL covER snider rage 1 ofz

CC D~JS44

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UNITED STATES lno I'RICT COURT, CENTRAL DISTRICT 011 \,`ALIFORNIA
CIVIL COVER SHEET

VIll(a). IDENTlCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No :1 Yes

lf yes, list case number(s):
VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case'? No 1:1 Yes

lf yes, list case number(s):

 

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that apply) :] A. An'se from the same or closely related transactions, happenings, or events; or
\:1 B. Call for determination of the same or substantially related or similar questions of law and fact; or
:] C. For other reasons would entail substantial duplication of labor if heard by different judges; or
:1 D. lnvolve the same patent, trademark or copyright, M one of the factors identified above in a, b or c also is present.
lX. VENUE: (When completing the following inforrnation, use an additional sheet if necessary.)
(a) List the County irl this District; California County outside of this District; State ifother than Califomia; or Foreign Country, in which EACH named plaintiffresides.
[::] Check here it` the govemment, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in this District:* California County outside ofthis Distn`ct; State, if other than Califomia; or Foreign Country
VENTURA COUNTY

 

 

(b) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides.
1: Check here if the govemment, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County iri this District:* California County outside of this District; State, if other than Califomia; or Foreign Country
VENTURA COUNTY (Sorens en & Sherbrooke) STATE OF ARI ZONA (COleman)

STATE OF ARIZONA (CELERITIVE)

(c) List the County in this District; California County outside ofthis District; State if other than Califomia; or Foreign Countxy, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

 

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country
LOS ANGELES and VENTURA

/_\
* Los Angeles, Orange, San Bernardino, Riverside, entura, Santa B b a, or S Lu' Obis o Counties l
Note: In land condemnation cases, use the location of the act la /`yi ed /fl m
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Date K/T /((/ 29"*'

Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

 

 

 

 

/]
X. SlGNATURE OF ATTORNEY (OR PRO PE : y /

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.c. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U-S-C- (g)) '

 

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